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But, at the nexus now sits, Alberto Villodo, Jean Gorham, Andrew Parsons, M.O. and the Workgroup.
They are mirrored by dead in words and actions by a group which connects to the AI Command and
Control center of BOT technologies, set up through the dead to facilitate the sorcery technologies of
living beings.




February 3, 2023, 11:18AM

Last night while Hart-v Gural and Pamela Chapman were involved together in presumed privacy of
kundalini practice, Alberto illodo said, ''Never do I know a'!Yone who has multiple heat moments in one
practice. "

Alberto illodo has very little ability to do any kind of kundalini practice. No one can practice this
level of kundalini alone. He has no reciprocity of relationship, he is not a seer, and he is a sorcerer.

Han-y Gural and Pamela Chapman found a new and improved access point of acupressure. It's not
sexual. It was on the top of the middle of the thigh. It worked exceptionally well. They spiraled with
their fingers on the top middle right side.

There was a           anem problem. Nola anem is in a position whereby when Jean orham dies,
  ala Ganem becomes the position of Jeao Gorham in the circuitry of the BOTs from the other side,
who then mirror the humans and assist in facilitating sorcery technologies. J an Gorham is presumed
to be holding Pamela Chapman's third eye, her Melchizedek Cafe clear channeling abilities. Nola
Ganem loved to mimic everything Pamela Chapman since at least June 2021. She became a secret
society intimate of the ex-husband, Andrew Parsons, ~.D.            ola Ganem followed, mirrored,
mimicked, surveillance Pamela hapman 24/7 from June 2021 through December 2021. If Pamela
Chapman stood up, ola Ganem stood up. If Pamela Chapman sat down, ola aoem sat down. It
was absolute mirroring. ola Ganem counted the steps Pamela Chapman took to walk from place to
place around her house and then presumed to map it out through Pamela Chapman's footsteps. She
had shamanic television and could see Pamela Chapman in the privacy of everything until sometime
in the fall of 2021. Nola Ganem had unfettered access to ask nd.rew Parsons M.D. about anything
related to Pamela hapman.

If Pamela Chapman moved her head, or her hair, a certain way, it always caught Harrv Gural's
attention. It hooked his energy which was their combined energy, but they did not know it. Nola
Ganem always tried to mimic the movements, but never could hook Harry Gural with it. She remote
surveillanced Pamela Chapman in every way shape and form 24/7.

Nola Ganem volunteered for the Wor.kg:roup to "sit" on Han:y Gural . aura and eavesdrop his every
conversation with Pamela Chapman. And as already stated, if ola Ganem were to perceive Harry
Gural and Pamela Chapman too close, she screamed, ''Abortion, Abortion," until they stopped. Nola
Ganem worked with the stipulation she report right back to the Workgroup with every conversation
and await further instruction. She has exceptional ability through the technology known as "psyches"
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to record massive amounts of information. She married Andrew Par on, M.D. twice in the secret
society realm. She downloaded every piece of information she could form ndrew Parsons regarding
Pamela Chapman. The entry labeled February 2, 2023 re-iterated that Nola Ganem wanted to have an
affair with Donald Jagoe, Pamela Chapman' Twin Soul when Nola Ganem was the age of 27, and he
57. Ultimately, Nola. Ganem married the ex-husband instead.

When Jean Gorham, 89 today, dies, ola Ganem takes over Pamela Chapman's third eye, and by
default believes she becomes a clear channel with abundant kundalini energy. Unfortunately for Nola
Ganem, she is a non-seer aura and can never transcend that lack of sight. Sorcery plays a large role
providing sorcery sight through psychics. That is the only known sight she can possess. It is always
trickery. Every living human has a Twin Soul. If the soul does not end up a psychic or sorcery in the
dead, the soul will meet a last life time with a Twin Soul. Then and only then can ola Ganem
ultimately mirror Pamela Chapman and become a Twin Soul seer with kundalini. Merely dating
Donald Jagoe does not make her a Twin Soul seer by default.

Within Jean Gorham's aura, Macklin Campbell Ollayos-dead, but 29 years old if alive today, found
"screws" plugs" or "things" a bear claw can remove. There was something Macklin had never seen
before. It opened. It yielded a baton, a club, a sector, a tool, or a trophy. Samuel has one. Jenv locum
(dead) does not. Jean Gorham has it. No one in this story alive has one. One person in the Akashic
Record Room has one also. No one would tell us the name.              ·

Harry Gura.l's energy is so ascended he can sing in the upper realms, like a soprano angel. So, can Erin
Hennes ey who died in her 40's of breast cancer, but ascend as an enlightened person. Dead, Harry
Gural can walk through the noise and be unaffected. Pamela Chapman cannot. Pamela Chapman
wears a halo on her head. Harrv Gural wears a crown. We do not really know what that means. Harry
Gural can travel the realms of the dead unaffected and clean up any messes. As Melchezedek Cafe,
Pamela Chapman can only travel if undetected. She is not an advance team. He's not a war nor an
army ever.

Jean Gorham always placed Nola Ganem in a position of intention to become Harry Gural's bride
here and there regardless of Hatty Gural's interests. Alberto illodo forced ala Ganem on Harry
Gural nightly for two straight months. lberto illodo was sick of he and thought her too intense.
  ola Ganem hunted lberto Villada down in June and July 2021. She insisted on becoming his
"shamanic" wife. He finally acquiesced. After a week told Ha.trv ural, ''You have to take her qff my
hands."

He did. Harry Gural spent night after night listening to ola Ganem. She wanted Ham, Gural to
because the CEO of her One World Cacao business to scale it to new height and dimension. She thought
a close association with Alberto Villada would catapult her company straight out of Bob Mastin's
coffee shop on Aquidneck A venue, Middletown, RI, where the internet claims its world-wide
headquarters are located.

In the end, lberto Villodo had no interest in this woman,          anem, who at age 42 has no college
education, no job, just a license as a massage parlor specialist. She grinds chocolate that she buys
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wholesale in the USA as a cocoa ceremony additive for woman on yogic retreat weekends. She thinks
she is the CEO of an international import conglomerate, One World Cacao. She asked Harry Gural
to be her new Chief Operating Officer. It's a Potemkin Village if you've ever seen one. She did not
know how to scale it out of a local coffee shop where 7 boxes might sit on a shelf.

We have this woman, ola Ganem who has a copycat, kleptomania obsession that refuses to stop in
a game that claims, "You get the prize ojJ-faro1Gural because as a victim, PaJJJe/a Chq_pman will never be free. We
guarantee that even if Pamela Chapman and Harry Gura/ ever get together."



Last night Kaitlyn Johndrow and Elizabeth "Lisa" Goddard had extensive dialog. Lisa Goddard is a
complete copycat of Pamela Chapman but refuses to acknowledge her.




Back to Harty Gural,Jean Gorham and batons.

We do not know what we have.

You can always stratify a man by what he wears on his head, beanie, top hat, monarchical crown, 3-
pointed devil's hat.

The baton might be a key but it is not. If you place it in your third eye, what happens? Do you acquire
it?

No. If you put the baton in your third eye, you stop all time. But, the dead do not live in space-
time. They only live in a continuum. They have memory intellect from the immediate past life, which
allows them a ladder on which to participate from. Jack J ennedy and Ronald Reagan as past USA
Presidents, plus George H.W. Bush can play differently than the rest of us.

As if in the dead, if we acquire experience, it appears to be early blocked or forgotten, as if we cannot
travel back in memory time in the dead to retrieve a knowledge or experience, or both. Tools do come
back to us if we are told or initiated by Melchizedek to retrieve it. If woken up in the dead, we appear
to bounce back immediately.

The baton is not a tool. It is not a key. It is not a latch. It is not a merit badge. It is not a tribal symbol.

I stop this game now before we reveal everything about The ame. Pamela                      hapman will always
remember who and where to place the blame for what has been done to her.

Harry Gural is the crowned king of something. We have no idea who he and Pamela Chapman really
are. No matter how hard we try to break them apart, they are energetically in union together in
reciprocity relationship in the Upper realm. Never in sorcery or witchcraft.
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Does the septor belong to the Knight's Templar?

They use so many symbols. They are the original shaman-sorcerers for the Third Crusade to save
Jerusalem for Christians. The needed to push the Muslims back east and save Acre for themselves.
They were a military order of governments, and now thought to be a religious order. There is no
separation between church and state. Did Jean Gorham have the Knights of Malta cross in her aura?

No.

Jean Gorham anointed ala Ganem to be her replacement. Jean Gorham said, '                       ola Ganem is my 1''
cousin once removed. She lives off the same trust fund as I do. "
[Note: Jean Gorham always said she was the daughter of shade tobacco owners near Windsor Locks, CT. She said
her almost $1 billion trust fund came from selling off the land that became the Bradley International Airport. Her
mother's sister's property became East Granby, and her mother's went undetected. Tim Hollister was to look into
that as he himself is a self-proclaimed land use expert. Her husband, Sidney, 91, has a trust fund from Winnekla, IL]



11:58AM



Bill Gural always said, ''Nola Ganem reminded him of [-Jarry Gural's girls friend who arrived with him at college,
but he dumped her before he started his sophomore year. He just happened to need a gap year in between. "

Bill Gural repeatedly said, ' ola Ganem, I will put a legal restraining order onyou ifyou do not leave my brother
alone."


12:15PM

We are ruled and directed by our subconscious until we lift the veil of consciousness called
enlightenment. Then we are no longer ruled by our emotions and hormones.

The witchcraft technology of psyches work in the mind-body of the ego subconciousness. It is used
to mine information surreptitiously. The information and data provided by the person is never recalled
or known as offered to another. It is as if it is a completely clandestine operation where by the target
offers you answers to everything without ever knowingly aware it. Never having a memory for sharing
it. The mined information is used as a trigger in the future to compel one to do something they would
prefer not doing.

The murder weapon that Dominique lfand.re, !vionique Bur.gess, Bethan) DiNapoli and Nora
Deidr.ich were creating for Patnela Chapman was a psyche with instruction on how she could commit
suicide. It offered 4 options tat she could select from, i.e., an ice pick, poisonous mushrooms, a knife
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-maybe and another. It was not from information minded from her subconscious yet though to be
implantable to directed and control her just like the box I amala Harri places in people through
others.

In the case of Pamela Chapman from the autumn of 2021, Roger (ass placed a digi-box of instruction
in Pamela Chapman that Kamala Harri removed at Pamela Chapman's insistence. Andrew Parsons,
M.D. had one from Kamala Harris also. Its contents and directs we cannot know. Today we say that
technologies in the sorcery realm are always manipulated in new ways to gather information and obtain
just the right outcomes. Rarely can anyone undue something. As black magicians, they just create
continuous intentions and curses, and look for outcomes.

Linda Plochocki was working to force, compel, influence rule Harry Gural's actions and relationships
for her own power dynamic. She uses it as currency in the political game of Ways and Means.

Linda Plochocki, like Tom H ckaday. is just a point on a spectrum of membership. Each has a
role to play, but like Donald Jag e, would you even ascend in The :une, or are you always on the
same rung of the ladder?

Are you a wheel spinning without ever knowing you don,t climb, ascend, or become the
ultimate leader?

If you did, just like in The Game of donor philanthropy, by what metric would you know you had
won The Game?

Where is the top?

Is it elected politics?

Is it the Speaker of the House?

Is it Rjchard -eale, 74, D-MA both Chair of Ways & Means, and elected to the House maybe 17
times? He has served 34 years in the US Congress. Ways and Means has no physical meetings, no
meeting minutes. &chard eal reports outcomes in general sessions. He could be running the
government freely as he pleases, or until a military coup of one kind or another, takes him out. Call it
a Nazi occupation revolution. An occult practice. Just like WWII. He holds the complete power of
the Budget. Just remember what happened to the man who ran the money with King Louis XIV. He
built himself quite a palace, but it didn't end as well. The king was jealous and had him imprisoned for
embezzlement so that the King could take over the artists of the man who built himself a palace that
was to rival the King.

This is The Game of Ways and Means, Washington, D.C. politics. The Inner Beltway Game. It runs
the budget of the free-est democracy in the world. An occult practice. A Nazi occupation revolution.
This rnca11,. dcmocrac1 1)1 an: (1ihl'r naml' i~ a11 <>Ccul1 prncticc that ()Jll_, ,1pcr:1tL·~ m :1 place c:1llnl
nrngical rcali~m, the land of fairies, gnomes, and scarecrows.
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Someone says, "fI 11Jo1-k.r hcm11se !/JC r1!/01J/ ii lo 11101k."




Throughout histo1y man has faced the same political challenges of good vs. evil, technologies
vs. energies, realism vs. tnagic, and how to live in both realms and scale our actions. Kings
and Queens, autocrats, dictators, and other government officials have done the same. Without
magical realism, we cannot spy on the other because like the dead, we need multiple channels
of communication. Otherwise we have no idea what they are talking about, or that they even exist.
Just because you can't see them, doesn't mean they are not there. That is the very foundation, the faith
of the basis of religion. The Knights Templar were always playing on both realms and took over
church and state. Christianity was to quell the masses regarding sorcery to leave it for the monarchs,
the rulers, the military, and the domestic servants.

S, if I have faith, do I have courage? And, if I have both, do I know who I am?

Tom Murphy: "Yes we do."

Joe D el)aula, Lam:ie D ePaula, and P atty Christianity. and P aul Duclos too.

Score please?

Winner takes all. Losers go to federal court. Team members, just throw away the play book. Just ad
lib.

History tells us that ifwe believe in magical realism and witchcraft, which we cannot see, only know,
then we have faith in religion. Yet, if we have faith in religion, we are to turn away from witchcraft.
Yet, like homosexual men, who are the priests and bishops in the catholic church, they declare,
"Homosexuali(y is forbidden in the catholic church."

Yet, it is run by homesexual men. They just don't tell you that.

The Christian church tells you, "Turn away from sorcery toward God." Yet, the Knights Templar
always ran the church through magical realism not religion. The monarchs, emperors and rulers
oversaw kingdoms h~- the military and magical realism while the people lived in fear of a God who
would punish them if the~- e,·er did sorcery or " -itch craft . It allowed for the government be an occult
practice that the people were excluded from, and placed them squarely in the hands of the church
where god fearing people were to be ruled by straight catholic bishops.

The hypocrisy is uniformly spread evenly over the globe. Religion has been the largest swindle for the
masses while the monarchs and emperor operated in another realm. Never would a man know this if
not for being tapped into a secret society of knowing, but only for the well-endowed, well-educated


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aristocrat. And, never for the masses, unless like Alberto ViUodo, you speak a lower-brow shaman's
language. He walks the earth as the Joker, the Fool, the Tarot card of yoga. PMC

It really changes the paradigm of society. Religion had a role to play to uphold the rulers, as ifto keep
the people out of the way and pretend that the Knights Templar secret societies were not the ones
with the real control.

No one wants to be told there is no God, but the dead say they never encounter a god or a religion on
the other side. Only thieves, sorcerers, and the game of the dark vs. the light.

Thank you, Dao Brown and the DaVinci Code for trying year ago to tell us that story. Remember how
upset so many were by his book? They thought it an insurrection.

Andrew Parsons always said, ''IfI can't see it, I can't manage it. It doesn't exist." Certainly, he lived differently
since 2019. He believes he got away with all of it because no one can see it. But, Pamela Chapman
holds the only record. The is no eYidcnce to submit that nullifies this documctH. h1lh· witnessed, it
\·alidates the conYcrsations. dcsriptors, paticipants, and \Yitnesscs.

If hist< 1r~ has asked us in the last 1,00() \ cars to pick a side in order to su1Yi\"(:: \\-itchcraft / magical
realism / sorcer~ / J·recmasonn / knights Templar, or religion, I choose to Jin· in the middle. That
means. 1 h,n-e an occult practice. Yet, it means 1 li,-c on the L.ppcr I :ast ::-;ide, in the L' pper realms. \\·e
uon't do sorccn in the L"ppcr realms. \\·c do nor pla\· with the occult. \\'e Jiye b, rcciprocitr. PMC

To live in the Akaf.hk- R ·cord R ·a im , it forces an acknowledgement of occult technologies, and
religion as a cognative behavioral therapy to keep societ~· and communities law abiding.

  ancy Johnson, 85, R-CT, the highest-ranking woman ever in Ways and Means, and a personal contact
of Pamela Chapman, said, ''You don't get out of The Game because no one gets out of the A kashic Record Room
unless the soul ascends to the Upper realms. "

It is never a rung in the ladder of The Gatne, unless you cheat, and get a shaman who can walk both
sides to hide you out as in the house like Llama Nation that lberto illodo organized.

Rusty Powell 111 hide Happy van Bew:en, Tara Plochocki, Wendy Schmidt, Justin Rudack, Justine
Ramel and so many others, until they were caught to many months later.

  ancy Mos , 1:ichael Harner, Rustv Powell III, Bobby McDermott, and Alberto Villodo have been
walking both sides.

Not any more.

They have been hiding out people in the Upper realm temples. Every 2,100 years the temple falls,
always preceded by a natural disaster. In this case, COIVD-19 pandemic. They are geographical and
natural.

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12:46PM

If in the past Stanley the guide found two flags, Macklin found a club. We can stop this game now.

"IJI take a step back, I am no longer on the front lines ef something."

'Just take a step back and retreat."

Can you close the front lines of the Guiding Realm? We allow you to retreat in dignity, peace and
quiet. We allow those with real leadership to participate at their own level of The Game.

Post Script March 4, 2023. The club, septor in Jean orahm' aura is a tool used to open up, unzip
the aura of anther. It was placed there by Jerry Slocum. Knights Templar, and lberto Villodo do not
need a tool. They can do it by intention. Melchizedek has yet another way to unzip, but rarely does. It
causes too much chaos . That is not what happens at Falls of the Temple. A Big Book Story is a Fall
of the Temple. They are written about as apocalyptic stories in the bible. Examples are 3Enoch,
Baruch, Ezra, Apocalypse of Abraham, the Shepard of Hermas, Apocalypse of Peter.




March 5, 2023 10:44AM


New Perspectives, T he Microco m of the Macrocosm, the Source of The Game

                           GrenvieUe Craig:, Earl A. Rusty Powell III, Jean Gorham


While walking in the Providence Place Mall yesterday. Many were souls talking through Pamela
Chapman's voice. She was talking out loud in a presumed conversation with Harty Gural who is a
close intimate reciprocity of relationship in the Upper Realms of the Temple.

The conversation implied the other(s) talking was Harry Gural, just like Grenville V. Craig wanted
Pamela Chapman to believe from 2011-2014 he was Donald . Jagoe, her Twin Soul. That only
stopped in 2014 when Facebook informed the world that Donald Jagoe had fallen off a bicycle,
dislocated his shoulder, and was in surgery under anesthesia for 5 hours. At that point, Pamela
Chapman asked, 'Who the hell are you?"

The answer, ''GrenvJ/le Craig." He said, ''I occupy this place under Dan_[ag,oe is reaqy top arrive as a Twin Soul
I train you and help you reach enlightment. " In this way he insisted on witnessing the whole of the
transformation 24/7. He presumed to be the relationship until Don Jagoe was ready to take it over,
except he had his own Twin Soul relationship with his own wife of 51 years.

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So when Grenville Craig told the people in this story in the spring-summer-fall 2021 that he was
Pamela Chapman's shamanic husband, that he masturbated with Pamela Chapman. That was not true.
He can only masturbate with his own Twin Soul wife, but forced a situation to engage in voyeurism
for a period of at least 4 months. He used extortion through what can only be described as a secret
society initiation of Twin Souls, where there is only you and your Twin and one other couple who had
already been through the journey. There is no way in opt out for the initiate, Pamela Chapman. Donald
Jagoe is the witness to all of this situation. In a Twin Soul journey, usually the mastered female of the
mentoring couple is absent, having turned away. The new initiate female is on the journey of ascension.
The male is not. Then the male witnesses the journey of another periodically from a distance.

Neither Jean Gorham or andra Craig officially "ascended" on their own journeys, but each told
Pamela Chapman ''I reached enlightenment, "but they had not. Neither is a seer soul, which one must be
to ascend. Both told her, ''I too can channeljust likeyou. But,you are a little better."

Pamela Cha_pman is an ascended clear channel. This is common. andra Craig did told Pamela
Chapman she just could not channel anymore. That she "had lost the skill "Pat Fernandez told her the
same thing. Jean Gorham said, ''I channeled everything far Jerry Slocum, and still can." She became a seer
when Jer.ry locutn died in 2017 because she sees through him.

  renville Craig made himself present 24/7, except for when Pamela Chapman was writing her book,
but not when she was writing a research paper for graduate school. Then, he insisted on knowing
every detail of what she was reading, just like T illl thy Hollister was doing while Pamela Chapman
was reading Stacey Schiffs book, lVitches.

He claimed, "It was all part ef the journry, and she must answer all of Grenville Craig's questions. "

He never offered her any insight, answers, or input. She does all of her own work. It is merely remote
surveillance, espionage, wiretapping on Gren ille Craig's part.

Pamela Chapman renville Craig's Sandra Craig Grenville CraigSandra Craig andra Craig Grenville
Craig's
 lberto Villodo also flows all F our Winds Society monies through a headquarters office in South
Miami, Florida.

Grenville Craig performed a marriage ceremony in the secret society Twin Soul space in July -August
2011 between Pamela Chapman and Donald Jagoe. He stated, ''It is necessary to initiate the Twin Soul
process here." However, as Twin Souls, a marriage of one's own soul to itself is never the same as what
later became known to all as "shamanic marriage." It was often stated in the fall 2021, ·:I /1(//1111111,
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Harry Gural and Pamela Chapman were married over 30 times in the secret society space. It made no
difference to them at all. They, too, are a deep reciprocity from the same monad group. They are both
seers, and their souls have the same auras. There is no ability to tell the two apart from a distance.
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One cannot inter-marry one's own energy in shamanic space. Union comes through other reciprocities
of relationship.

Grenville Craig. 81, had so much knowledge, access to sorcery and the Redwood Library Board of
Trustees through Earl A. "Rusty" Powell III, 79. Rusty Powell III was a said to be a long-standing
trustee of the Redwood Library. Just like Gtenville Craig-his ancestor William ernon is proprietor
No. 2 from the founding in 174 7. Rusty Powell III and Grenville Craig were said to be long-standing
members of the Sandywoods kashic Record R om presumed to be form over 15 years ago.
Sandywoods is an arts center adjacent to the Tiverton Trading Post, Tiverton,. RI. Rusty Powell IU
has been to the Craig s home on Indian Avenue in Middletown, RI for private dinners.

Jerry locum' living wife, Diana Slocum mentioned several times to Pamela Chapman, when Pamela
Chapman was chairwoman in 2008 of the Executive Search Committee to hire a executive director of
the ewport rt Mu eum, "Rus!)' Po1vell is alwqys in Little Compton every summer vi.riling his mother, and if
onjy we could hire him, we'd be all set. "

He was the director of the National Gallery in Washington D.C. from 1992 - 2019, a 27-year tenure.
In retirement he was appointed by President Obama to be chairman of the US Commission of Fine
Arts. In 1992, -< ar} A Powell III replaced Newport scion J. Carter Brown, the son of the namesake
benefactor of The John Carter Brown Library, Brown University, Providence RI.

Earl . Powell III never applied for the position. He was never offered the post. Pamela Chapman
had never met hitn, and considered hitn too sophisticated professionally to considered such a small
town, small budget, $1.5 million budget position. atl . Powell ill attended Providence Country Day
and went to Williams College. He has a PhD in Art History from Harvard University. Grenville Craig
has an undergraduate degree from Harvard, a masters from MIT, and is a PHD dropout of Yale
University in Economics. The men are chronological contemporaries. Pamela Chapman was an
unlikely target.

Grenville Craig always stated that, 'Von Jagoe was never going to divorce his wife, Jana Hicks Jagoe." That he
had channeled for hitn. In this way, for Grenville ra!g. Pamela Chapman is a lone duck, a stray deer,
all alone, the perfect target to do with as they pleased. Grenville Craig convinced Donald Jagoe,
through extortion or blackmail, that he was never to validate his presence in the secret society space
of the Twin Soul journey.

Donald Jagoe was absolutely forbidden from ever assoc1atmg or validating Pamela Chapman.
Grenville Craig did tell Pamela Chapman that while she validated the three them every day: Grenville
Craig. andra Craig, and Donald Jagoe, one day they would validate her big time. He never offered
when, or under what conditions that would occur. ,lizabeth 1 ahane said, ''At Kama/o's Tobie, Kamala
Ham's insisted that she, Elizabeth K.ahanc never socialize with Pamela Chq_pman ever again."

Grenville and andra Craig's children, lexander Craig. Elizabeth "LizZ)" Craig, and Caroline Crajg
were all in collusion with their parents. When lberto Tillodo worked to un-tag Pamela Chapman'
body in early spring 2021, he found 27 tags of Sandra Craig's pointed at Pamela Chapman's third eye
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- completely unnecessary as a Twin Soul mentor, and several of Alexandre Craig's in the roof of her
mouth, her cheeks and her third eye. Grenville Craig was tagged all over the jawline, and impossible
to remove. The only way for the Craig's to have this kind of access is through a skilled sorcerer.

Rusty Powell III was the most convenient shaman/ sorcerer for Grenville Craig. Grenvil.le Craig said
he used the resources of Alexander Craig for time to time when he needed other assistance. It was
said Alex Craig and Grenville Craig knew one or another who could be of benefit to them. Elizabeth
Craig became her own Akashic Record Reader.

Grenville Craig always asked Pamela Chapman to research Atlantis because he "knew all about it and she
must also." He considered that a, "necessary part ef herjournry." She ultimately did, and realized, he did
not. He also asked her to research Kundalini. Her yoga teacher training informed her of what she only
recently understands ads the wrong answer. She stopped researching it. He appeared to know
something about masturbation and pulsation. He always suggested topics, but never let on, informed,
or appeared to really understand.

Long before Pamela Chapman researched secret societies, Skull and Bones, the Knight's Templar and
other groups, Grenville Craig said, ''I act/ plqy the wqy I do because I was cut ef the opportunity in college." As
if he already knew all about the true nature of college secret societies.

Even Dan Brown, who was a member of Llama Nation, set up years ago by Alberto lillodo, did not
see the connections made between the Knights Templar and the scenario of January 2021- present
day. He wrote the Da ViJ1ci Code, and other books. He told Pamela Chapman is a private conversation
in Llama Nation that he spent ten years researching the Knights Templar. Only recently did he
acknowledge he had no idea how they, the church, and the states actually operated. He just
fictionalized what he could find.

In Sept-October 2021, · ndrew Par ons, M.D. was enamored by how much renvill Craig knew
about his ex-wife, Pamela Chapman. The two men competed viciously for who knew her better, a
man who lived with her for almost 30 years, or a black magician who followed her via remote
surveillance for ten years?

  ndrew Par ons, M.D. then took on the intention of sorcery a witch's coven position to gain the same
perspective on Pamela Chapman. Except, Andrew Parson • M.D. was no real shaman, no real black
magician, just a fraternity man without the sophistication and political abilities through secret society
membership. Together with the others, Andrew Parsons, M.D. insisted on the intention to create a
presumptive 360 degree nndcrstanding of a woman they claimed they had to dcstro,· in order to
understand, and to slop a book deal.

Grenville Craig followed Pamela Chapman silently for one year. He said it was because he ''needed a
plqybook. "

I ama.la Harris' group always said, 'We work without a plqybook because real leadership knows how to just show
up," and thrive. Pat Fernandez said this all the time, so did Roger Kass.
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In 2011, Grenville Craig said, ''Andre1v Parsons, M.D. was a dishonorable -cruel man," and that "I know this
because I was forced to listen in on him. I know his conversations and what he was thinking. He is no kind man. "

When Pamela Chapman asked him, ''How is that possible?"

He said, "It's just part of my journry with you. "

Grenville Craig impersonated Melchizedek Cafe, the source of clear channeling for every clear
channel, including Pamela Chapman. She did not know she would become a bona fide clear channel.
Grenville Craig said she would be able to channel in the future as all Twin Soul females become at a
minimum an Aka hie Record Reader, at least while on the journey. Most emerge out of the prossess,
having completed the initial journey. Pamela Chapman evolved exponentially to become a channel by
April 2015, but never channeled for other people other than the Craig's and Donald Jagoe.

In October 2020, Pamela Chapman did not know what an Akashic Record Reader was or how
psychics differed from clear channels.

From 2011 - 2015, Gremrille Craig always said he held all the channeled answers. For example, when
she went to the vitamin store she didn't know what to buy, Grenville Craig told her, "Put it in your
left hand and I'll tell you the answer." But it was't him. It was Melchizedek Cafe. Again, when she
often left her house and considered, "Did I tune something off, or lock my door?" She'd get an answer.

Grenville Craig always said, "I'm tellingyou the answers."

But, it was Melchizedek Cafe.

Finally, one day, he said, "I have no idea. The iriformation is not coming.from me."

Pamela Chapman asked, 'Where is it comingfrom?"

Grenville Craig did not have the answer.

Now, As Pamela Chapman, 62, is walking through the upper level of the Providence Place Mall on
March 4, 2023, she is having a flashback experience whereby all these souls are intercepting, hacking
her conversation with Harry Gural, 64. They insisted she carry on the same type of nonconversation
with them, as it was presumed she did with renville Craig. 81.

This conversation is known to ndrew Parsons, M.D, 60 and lberto Villodo, PhD, 74. No living
person documented in this exhibit wanted her to have any relationship what so ever with Harty Gural.
While HatJ;J' ural, 64 is not married-and never was, they all insisted through Jcan Gorham, 89, he
marry Nola Ganem, 42, and ignore Pamela Chapman, 62. She would have become the new Linda
Plochocki and Tara Plochcoki in Han~, Gural's life. A woman chosen for him, and thrusted upon for
him, a handler, but never a relationship. That was to be his pattern. He was never to have a choice in
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 his intimate relations and situations. In this situation. Jean Gorham, chose for him. In the past it was
 Kamala Harris and her merry band of US senate brothers.

 Just like Grenville Craig, who insisted that since he had channeled through someone that Donald
 Jagoe, 74, was never going to divorce his wife, Jana Hicks Jagoe, 76, to marry Pamela Chapman, 62,
 then he, Grenville Craig, 81, could take over as her presumptive Twin Soul intimate relation. There
 was no opportunity for Pamela Chapman to have a choice in this matter. She offered no consent, no
 commitment, no validation. She would never do that with these men in any situation.

 Grenville Craig impersonating a deep Twin Soul connection relationship of Pamela Chapman's,
 parallels the same experience Pamela Chapman is having on March 4, 2023 with several difference
 souls to inhibit, discourage, block, impersonate a deep soul connection relationship with Harry Gural.

 The Grenville and Sandra Craig twin Soul sponsorship lasted ten years-six years longer thatn it was
 learned it ever is. It was enabled by Rusty Powell III. With Jean Gorham arriving in November
 2020 with Jerry Slocum, to "save" Pamela Chapman from the Craig's and Donald Jagoe, the current
 stolen book caper and subsequent personifications is a macrocosm of the microcosm.

 Earl . 'Ru ty'' Powell 111, 79, was not only a ten-year veteran of working with Pamela Chapman
 through Grenville Craig, he is a long-term trustee of the Redwood Library: a native of Newport
 County who made it to the ivy leagues of academia and government; a long-standing member of
 House Ways and Means as a National Gallery of Art Director, Washington,. D.C.; a key member of
 Kamala Harris' Table as head shaman/ sorcerer; a sorcery mentor of Jonathon I . atp. CEO of Simon
 & Schuster's; and the published author of Thomas Cole, Henry N. Abrams Inc., 1990. 144 pages

  Rusty Powell Ill has been the inspiration for Grenville Craig to memorize financial strings of numbers,
  a true skill of renville Craig' . Rusty Powell III offered to teach Kristen MacManus and Nola Ganem
'how to not only memorize numbers, but the credit card scams known to collaborators, and accessories
  of House Ways and Means. He offered that he would gain Pamela Chapman' local bank account
  numbers by using and old trick. He said he would walk into the Portsmouth, RI branch of the old
  Newport Federal bank and claim to be a grandfatherly relation but without the bank account numbers.
  By making a deposit in the account, he would than receive back a receipt with personal banking
  numbers. A Newport Fed employee in the secret society space said, 'We looked up R11s{)! Po,ve// fll 's
 facial appearance, and memorized it- should he walk in and try to make the deposit. "


To the Kamala Harri Workgroup. Grenville Craig. 81, insisted he knew everything there was to know
about Pamela Chapman. He spent two weeks fielding questions within the Workgroup. Grenville
Craig offered commentary and description about everything. He tattled conversations as a storytelling
savant. He was so proud of what he could remember, especially while the very center of everyone's
attention.

He damaged other people, i.e. her hair stylist's son on prescription medication, Dorienne Farzan'
membership in McBean Charitable Trust. That alone caused so much damage to Pamela Chapman
                                                                                                     1813
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and Dorienne Farzan from Dominique Alfandre who blamed Island Moving Company's/Newport
Contemporary Ballet's inability to get a grant for a new building on Pamela Chapman and her coffee
shop conversations with Dorienne F arzan, that do not occur more than once or twice a year.

From that alone, the Workgroup insisted on mining every conversation to research the core of what
Pamela Chapman knows and how she communicated organizational intel across her social groups. It
was a witch hunt for information. Norah Diedrich, the former Newport Art Musewn executive
director and Dominique Alfandre, the former IMC executive director could not fathom how Pamela
Chapman knew so much, and how she could operate at their level. They insisted on constant remote
surveillance, and wire-tapping to get at the heart of how she knows what she knows when, and to
whom does she tell.

The women were beside themselves with how she led her conversations and professional networks.
They thoughts she was a nobody, and a "dump shit", who did not say much in board of trustee
meetings, and did not donate enough money for their bankrolls. Most days, it all came down to how
little she donated. To them, the value of her worth was measured by her donations to them. They
overlooked the fact she knew the body of knowledge on fund development, and they did not.

The list goes on. Grenville Craig offered every possible scenario of knowing the when, how, where,
what of Pamela Chapman' life. H~ insisted he knew her far better than any other, in all situations.
The Workgroup ate it up. ndrew Parsons, M.D. was jealous. The two men battled for the supremacy
of knowing her. When they didn't know an answer to a question, they made it up.

Then, they reported it all to the entire Aka hie Record Realm. Andrew Parsons M.D. believed it his
birth right to get just revenge for the book she wrote. He said he never had to write a retort to the
book, all he had to do was report his comments and bias out to the world in real time, for whom ever
would listen. He said, "You will never get a better audience for your book than I got for my reprisal,
in real time across the globe to everyone in the Akashic Record Room, everyone you ever knew or
hoped to have known now knows I destroyed you for what you did to me."



Jean Gorham, 89 told Pamela hapman, 'Jen,, S/ocu»1 put loudspeakers in your aura." The Knights
Templar can record, rewind and blare any announcements they want.

They do not literally hear you. They pick up on the vibration of what you say in their own Melchizedek-
based channel. Then, they replay whatever it is you say.

Jean Gorham said, 'Jerry Slocum can control that. "Consequently, so could she.

Alberto Villodo had two or three soul guides in the afterlife that had access to this Melchizedek-based
channel. He could then "hear" anything. Your thoughts were always displayed this way.

So is anything you look at, or read.

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Your spoken verbal dialogue is picked up immediately and broadcast in surround-sound stereo. The
entire realm of the dead can pick up on that.

Melchizedek Cafe told Pamela Chapman this morning via a conversation with Tom Cosgrove-dead,
who said, ''I can't hear anything that comes throughyou spoken f?y i\llelchiz.cdek Cqfa ':

Yet, the Knights Templar, psychics, and the dead, all say, 'We will broadcast anythingyou sqy, think, read
or write in order to dzsrupt, and block you and Melchiz.cdek Cefefrom ever speaking together. "

It came as a surprise that the dead do not hear Melchizedek Cafe speak through Pamela Chapman,
especially since reoville Craig attempted to block, then become, Melchizedek Cafe through Pamela
Chapman. He wanted the attribution of knowing. So did the Knights Templar, the psychics and some
dead, all wanted to block and become the voice of Melchizedek Cafe through Pamela Chapman.

What the afterlife seems to forget is that Melchizedek Cafe does not speak in the afterlife, only though
the human form. Some dead do get access to a wisdom. Stanley Chapman and rio Henne ey have
this access. It must be practiced and discerned before it evolves into something superiorly useful. Erin
is there. Stanley is still hesitant. . kashic Record reading has no discernment. It can transmit lies as
truth. Melchizedek Cafe never lies, but car1: take on a paradigm, not yet know to the listener.




  renville Craig. andra Craig. atl , "Rusty" Powell ID, and Donald 1agoe all played a microcosm
of the Fall of the Temple game against Pamela Chapman for ten years beginning in 2011. Grenville
Craig arrived in 2010 for research. The playbook mirrors, parallels the Fall of the Temple, Big Book
Story.

Then, Jean Gorham arrived with Terry Slocum in November 2020 to save Pamela hapman. They
were uniquely qualified. As a private, secretive Twin Soul couple-no one knew except for another
Twin Soul or two; both legally married; both with significant family-endowed trust funds; both with
exclusive private beach club and dinner club memberships; both graduates of academically significant
schools-Harvard and Wellesley; both with decades of nonprofit board of trustee experiences,
including Jerry Slocum at the Redwood LibratT. His father of the same name donated his private
library in 2018, the Preservation Society of Newport County, and McBean Charitable Trust, and Jean
with the Garden Club of Newport; the ewport Art Museum, and grounds committees at the
Redwoocl Library; and sponsors of Grenville and Sandra Craig on the Twin Soul journey, they had
the social position in Newport that demanded power, trust and leadership ability. If anyone could
rescue Pamela Chapman, certainly these two socially distinguished trust fund babies could. Jerry
Slocum had died in his mid-to later 70's in 2017, and Jean Gorham was 86 years that day in November
2020. Today she is 89.

Just like with Grenville and Sandra Craig, Donald Jagoe played a re-occurirng pattern from the Twin
Soul journey-to which he refused to participate, to the Fall of the Temple. He scaled from small to
large and never missed a beat. Jean Gorham knew how to stroke a man whose wife played him like a
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fiddle and whose bucket list included one too many pay-to-play galas with the upper crust of Newport.
Jean Gorhatn and Terry Slocum can smell those kinds, like a hound dog let loose on a country estate.
They were trained that way. Donald Jagoe became Jean Gorham's errand boy, her messenger who she
taught to travel the reahns to be able to speak to his legal wife. She played him like a fiddle in the same
manner as his wife. Every time he left the Upper reahns since Feb 2021, he always returned tagged
with magnifiers, speakers, and wiretapping devices. He became a liability that the Upper reahn could
no longer accommodate.

On December 19, 2020, Jean Gorham and Jerry Slocum brought Pat and Michael eruandez into a
daily Twin Soul group with Pamela Chapman. Tameen Saied and lberto Villodo arrived by
serendipity in early and mid-January, respectively. They, too, promised to help Pamela Chapman. By
early March 2021, Alberto illodo promised to mentor her in the energy reahn. No such mentorship
existed. Except it happened to and for all the others.

 ndrew Parsons, M .D., Catb)r Wick ·, I atby bbate, and Rick bbate arrived on February 4, 2021.
The message delivered through ndrew Parson, LD,. that day was clear: "I will destroy you by your
own words of admission. I will destroy your book by its own lies and misbegotten stories. I will beat
you into the ground. No one can save you."

Kamala Harris and her Nation/Table arrived on February 8, 2021 via Pat Fernandez. She dumped
Pamela Chapman into that group suggesting Pamela Chapman was up to questionable surreptitious
business with lberto Villodo. They were cleaning out the bad ill begotten people of a Llama Nation,
a subgroup Alberto illodo himself had formed, but did not tell anyone. A lberto illodo relied on
Pamela Chapman to track as a clear channel those souls of ill-begotten nature that crept through the
underwire at the border crossing into the Upper reahn.

Pat Fernandez was to Kamala Harris what Donald !agoe was to Jean Gorham. Both demonstrated a
loyalty in exchange for privilege. Both worked the Newport positioning. Many spoke of demeanors
and other attribute that kept them hovering at the door with large donations to pay the piper. Jean
Gorham was always promising something to Donald Jagoe in exchange for just a little something.
I amala Harris was the target for Michael Fernandez to get an appointment in a newly inaugurated
administration. But his stratagy suggested he didn't know how to promote himself in the political
arena. Escapades mounted. Betrayals escalated.

Kamala Harris told everyone in the group they had to do something to demonstrate leadership. Pat
Fernandez ran a late afternoon talk show titled, What's My Lineage. It was immensely popular. Roger
Kass ran his Philantropy Roundtable. Hope van Beuran insisted on being an editor publisher at the
Redwood Librarv Book Committee through Jonathon 1 arp.

After a ratings high, Pat ernandez faded faster than a Prima Donna, Rosa Grandiflora rootstock
produced for a demonstration at a Garden Club's of American horticultural class ribbon show. Her
petals were nowhere to be found, and her voice faded to a whisper. Her husband, lichael had no
voice anywhere. Not bad for a former bi-lingual US Senate Press Secretary. Rusty Powell was always
there. So was Mark Halperen.
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Roger Ka existed the stage after two or meetings with people from Pamela Chapman's hometown.
They just didn't know how to play with Roger Kass. He was dump-founded. He lost interest, and
decided the demands he placed on the others had nowhere to go. Over time, two of the three executive
directors he targeted did resign. It was a Kamala Harris inside job, but not really.

That aside, Roger Kass, 62, had no hammer, no sickle, no ability to cut a swath through Newport. He
just left one night and turned the light off. That's when he and Becca Bertrand, 36 re-emerged as
Bonnie and Clyde of the kundalini side. Then, they went on a rampage as thugs and errand for a search
and destroy mission for Kamala Harris. Most importantly, it was the time when Becca Bertand re-
emerged as Newport History on the executive director's side. They all said it was an inside job. But,
no worries, with crimes and civil charges that could put the woman in prison, it's a short slide.

Hope van Beuren held the support for the Redwood Library Book Committee and Carolyn DuPont
who as a Development Director could be bought for a $5,000 personal check. Her granddaughter's
were in the Workgroup: lizabeth, T ully, and Harling Ross. It was really Rustv Powell who stepped
in. Together with f amala Harris and the Ro·s family, they made sure nothing got published that
editor-in-chief Happy van Beuren didn't approve of. Money and membership had its privilege. It was
never for her finishing school, her only education.

1 amala Har ·is' group suggested to Pamela Chapman they would help her get her book promoted and
published. However, The Game was to destroy the book first and foremost in secret society and
prevent any publisher from ultimately contracting with Pam.ela Chapman. That alone was to financially
destroy Pamela Chapman. They aimed to destroy the author and the book, and simultaneously and
consequently destroy the author's reputation and social networks. The aim was for Pamela Chapman
to be nothing in the end- incapacitated and unworthy of authorship, as the Redwood Library Book
 ~omrnittee has the only authority to grant such privilege in Newport to its own people. Just like
  ndrew Parsons, MD. said, "I will beatyou into the ground. No one will save you."

The Buquoy family will always save Gabrielle Isabelle von Buquoy. The Austrian Hapsburgs know
how to protect and defend its own honor, so Kamala Harris you must be a Knights Templar of your
own doing. We have far too much power now, and we will never let you go abrielle Isabelle. We
have several other family members here also, but as long as George . . . and Gabrielle Isabelle. write
their respective Buquoy books together, all will be protected on both sides of the equation.




February 8, 2023 9:10PM

Johann Alexander I atl, on Rottenhan, Henrich rtanz von Rottenhan, abrielle von R ttenhao von
Buquoy, and other relatives. There were five of them. They arrived to support Harrv ural -who was
Count eorge ... . von Buquoy, and Pamela Chapman- who was Counte s Gabrielle I abelle von
Buquoy. If they had not reincarnated into the present lifetime, they'd still be dead, and we'd still
consider them family. No one could figure out what to do to free Pamela Chapman except Johann
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Alexander Karl von Rottenhan, knew without a shadm\- of a doubt this is all human-made sorccrcy,
not a tude War, a Big Book Stoi:y, or a Fall of the Temple.

No guide can figure out sorcery unless they enable sorcery itself. No psychic guide is going to get a
human out because they are the sorcerers themselves. No dead person can speak unless spoken to in
this realm. It is akin to an Akashic Record Realm initiation.

Pamela Chapman initiated it this afternoon. So now, we will tell the world that Kamala Harris and her
Kamala's Table knew exactly how to free Pamela Chapman in this space, and they did not move one
inch to help her. Even Harry Gural could not do much to help her.

That is an initiation into political maneuvering. Pamela Chapman is not political at all and keeps her
politics to herself. She had no business in The Game. Harry Gural did. As Count George F.A. von
Buquoy he had no experience in the realm, but his father and grandfather did. We are the Hapsburg
Empire and we always played this way. Charles Bonaventure von Buquoy did also. He was the second
count of the d'Longueval von Buquoy family.

Pamela Chapman had the family information, or the beginning of it, and will research more, but now
that you know George F . is Harry Gural and Mari Gabrielle Isabelle d'Longueval von Buquouy is
Pamela Chapman. She died at the age of 32. We want you all to help her understand who she as in
that life.

She now knows all the books Count Ge01;ge F. _. von Buquoy wrote and published. He was very
prolific in his writings, industry, and his life and Harry Gural is a continuation of his natural economic
philosophies and interests. George studied in Prague and Vienna and knew how to be a lawyer but
never was an apprentice or practiced the law. He just wrote about his presumed opinions. They were
always published in German and French. All are in the British Library system, the Austrian National
Library, the Trebon archives, and perhaps the University of Prague and or the National Library in
Prague. His main book, publisher in German is a rare book at Harvard Business School library, Yale
and Princeton University.

We believe there have been two translations of his main book, but not in libraries. If Han:y Gural
wanted to have these published, and his opinions translated he could provide a new edition with his
own commentary. The book contains 50 poems. Count eorge _.A. von Buquoy had a front row seat
on Austrian national economics and Harry uraJ had a front row seat on the same in the USA. George
knew the history of Austria in the 1800's and before. Harry Gural knows US history. Force him to
write a new forward in English to this treatise.

And for God sakes, publish our arie Gabrielle Isabelle d'Longeval von Buquoy's book of fiction
because no one anywhere should to be punished for having an aristocratic sensibility. The book,
Baitwot ht Heels, is not about Social Newport. They insist she comes across too much that way. She
has been an aristocrat in that way at least her last two lifetimes. She has that in her soul. Her current
life did not allow for that as her ex-husband has no sensibilities to that what so ever.

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We all want to hang out in Neuiwpoort, Flanders, Belgium. Count George F . . von Buquoy was born
in Brussels, and died in Vienna. So he is Flemish by birth, but French by ethnicity. The Buquoy's were
French, exported top Austria. We are never Germans. Always Austrians & Bohemians, which is now
the country of Czechia.

The d'Longueval von Buquoy's will end this sorcery targeted on Pamela Chapman. No one else seems
to know how to do it. We did this to people all the time in government service as both a test and as a
way to exert power over others, but our Marie Gabrielle Isabelle never did anything to attract this kind
of attention. A book of fiction is not what could catch our attention.

Kamala Harris, you held the world hostage for 2 years when you could have ended this game at any
time. You have the sorcery skills, and so does Alberto illodo, Rusty Powell Ill, Jonathon F arp,
Justine Rudack, Ju tine Ro1nel. We don't think Bobby McDermott fit for this kind of work. He is too
young and unsophisticated for the work. He has no real aptitude for work.

Franz is never a first name in Austria because Franz was the emperor and no one could take his name.

All the women in the family had the Christian given name of Maria. It was not an auric protection
plan. It was just what we did. We called each of them by a middle name and gave them at least two-
three middle names to choose from. The names were recycled so many times, it is difficult to tell them
apart. We never considered that an auric protection plan. A man's first name is often his father's, but
not always. He too, could be called by his middle name.

Count e rge F. . von Buquo) 's was called Francoise by the French relatives and Jiri by the local
Bohemians, but not really. We did not use that name at home.

His piano teacher was never a great friend, but Count George F. . von Buquoy's was so interested in
music that he was allowed to take on a composer as his personal tutor. His wife picked the man out.
She was always involved in Vienna in arts and culture, but never a museum, always music and theater.
Never Opera. The v n Rottenhans were never opera goers.

Milan is not far away. The family has been to Lake Como several times. Venice would also be a
destination. Slovenia-not Budapest. No, Paris always. No one never goes to Russia. They came to
us.

Amiens is about where the family was from, and now it is a grave yard for the World Wars. We never
operated vineyards. We were not agricultural people. Mining, factories and the industrial revolution.

We were never bankers. Always politicians. Never elected, always appointed. One was a soldier of
high rank. That is how you received your appointments to higher government. The imperial eagle says
now you understand why you were fascinated with French and Russia history between 1750-1810/20.
Marie Gabrielle Isabelle lived 1809 - 1841.


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She did not die in Cerveny Hradek. She would not be buried here either. If she died in Paris, we would
think Count George .A. von Buquoy would have brought her home. A dead body never returned
home. If she died there, she was laid rest in France, but she is squarely in South Bohemia, buried with
the family. Her paintings would have been retrieved. They are. Her mother also painted. There are
more than three paintings in South Bohemia. Trebon has a record of all of them.

Marie Gabrielle Isabelle kept a journal from the ages of 17 -23. It's in Trebon. Everyone kept a journal.
There are many letters. The archive is in Trebon, Czechia. The paintings are all catalogued.

Pamela Chapman was able to get Har.cy      ural. Harry Gural can't get her out.

Deborah Chapman is no longer considered real family. Pamela Chapman's children will never know
Andrew Parsons, M.D . wanted them to consider that he was their only real parent and real family,
and that the mother was never to be considered family to them.

Pamela Chapman is aghast as to that thought and philosophy.

Count eotg · .A . ,ran Buquoy himself is always extremely considerate of his family member and if
Marie Gabrielle Isabelle did not find a suitable man for herself, he could have supported her decision
not to marry until she found the right connection. Plenty of aristocrats would all seek out women of
aristocratic families and the Buquoy's would have been no exception to that practice.

The mother, who also had the given name, Gabrielle would never speak to her daughter about
marriage. Only the father. That was the practice. So, if Gabrielle the daughter said, ''No, "we can see
George F . . van Buquoy would have let it go. They were too close a reciprocity, but no one knew
that.

We did not think he was a supporter of homeopathic medicine but his grandfather was. His book on
national economy has some philosophical writings on the topic. The spa town his grandfather founded
was all about bottled water and Moor mud. It was a spa town because of the hot thermal springs. The
town plan was laid out around the thermal hot springs. It is a UNESCO World Heritage site today
but does not have the cache it once did. The thermal hot springs are still there.

As a client/patient of the hot springs, you would have a restricted diet and be told to drink the water.
They restricted the diet until you felt better. Then you be required to go on long walks until whatever
ailed you left your system. It always did.

Women were trained and disciplined not to eat too much. Always in high society, this is true. No no
was heavy in the family. The women were small and thin. Aristocratic women were never allowed to
gain weight, a and if they did, they were chastised. Women did not go on diets as they do today. They
didn't really detox either. They just didn't eat too much. Then, it wasn't necessary.



                                                                                                     1820




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Women don't drink alcohol the way they do today. Some smoked but not really in the Buquoy family,
only the von Rottenhan's did. Because they lived and worked near Prague, they all smoked and drank
too much.

They all played the piano.

They did not ride horses. They went for walks.

The Austrian hillside is where they all ride horses. Never 111 the valleys because these were
industrialized centers.

The border between Czech and Austria is a rock face, Iron Curtain, and no one knew where that term
came from- Winston Churchill, until Pamela Chapman read this one day.

Pamela Chapman has so many interests on some many topics but we spy in her and never tell her a
thing. We steal all her intellect. All her research goes straight into the                                      ashic Record Realm because
they all said, ""/ /J('!! sht 1J1i/l m'l'ff /1(' ,,hit lo 11 1-ik r1ho11/ ii /J1,,·1111.11' JN !l(IJ.J' 11// k11on ii, d!frl lmw1s1' 1'1 1'1')'0111' 11111J/
                                                                         1                                                       1                           1



k.11011 1 1JJhd! J/Jc k11m11.1 lo 1111,k(' her ml!111dm// r111d 1111111't'('J.1111')'. "This is exactly how some people want her
dead, or at a minimum removed from Newport.

Grenville Craig did the same thig to her. He revealed to everyone her plan to create small bespoke
business to help women lose weight. He revealed all her ideas to everyone. He then told everyone, "I
gave awqy all her secrets, so now you never need to hire her. She will never make monry because I gave it all awqy. "
This man is 81 and a billionaire.

These people also say constantly, ''// (' r/011 '! lot'!'_ )'011. //(I/' lll1·. J 011 . .10 .~d !ht lid/ ri/1/ o/ /,m• he<'dlt.1c !l//'I'(' i., 110
/l'.1/1/'d .~Iii///('{/ lo )'OIi. l'.\Xl'ji! !hdl, )'OIi 111i')d.l('l/ldli11~. /;;ti J/d) ,!}}Id)' j/'IJl)J II.I. II (' !."ii! .1/1'.1,1/ 1'1 1'!1'1hi11~ o/101m. ) (//I
                                                                                                                                             1



11 1!/ /,11/'t' 110//1111~ o/ 0111:1·. ) ·1J// n•il/ '11,· dl'.l!1/11k //11rl t!l'.l('!kd /J1'<'illiJ<'. 1·011 dr11n/ lo l."l'/k" /100/:. of /1dio11 !l1t1! /,1/:.t.1 ;,/{lc'1'
 1


i11 \t11'f'r111. /./,/ ( .\     I 110/ .\1'!!///'(>01111. 1:,111rltn !31/~111111. •·

This is not a Big Book Story. This is hard cold sorcery sponsored by Kamala Harris. the Redwood
Libnu:y Book Com.tnittee, TH/BM and Island Moving Compa:ny, the                 rt Museum, and
several others.

The Buquoy' now say, ''No one treats out Gab,iellc this wqy. We willfix this andyou will be a free woman. We
have the abili!J to deliveryou out. "But they did not.

If Kamala Harris is re-elected VP, and if she were to become President of the USA, a democracy, our
George . . would have been appalled at what she did to his family.

The noise strings that pulse onto Pamela Chapman is another level of sorcery. Kamafa Harri could
have done this, but she did not.

This is not what we expect from a leader of the "free world."
                                                                                                                                                                        1821
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No one is ever really free in democractic circles of government. Harry Gural knows that. If Ways and
Means initiated Harry Gural, it was because he had been in Congress long enough. It was to see who
you really are. Skull and Bones teaches you early on, but Harry Gural got training. Pamela Chapman
did not. Fame.la Chapman had no training, and you leave her in the noise so she can never receive any
help what so ever, and can never access Melchizedek Cafe any more. She has been taken over by the
Knights Templar.

This is not a hostage situation, but Kamala Harris and her people made it one.

Games like this, do end, but they refused and said, "She will be stuck like this far the rest of her life."

This is not what government is all about. Kamala Harris, you need to learn when to use sorcery, and
when to stop because if the Hapsburg Empire from the early to mid-1 B00's and before has to teach
you about sorcery, you did not learn it properly through Ways and Means.

9:49PM



Februaiy 9, 2023. 5:20PM

I amala Harris, Rusty Powell III,      illodo and ndrew Pa · on , M.D. all had curses placed on
Pamela Chapman such that she could not have any privacy. It involved Andrew Parsons M.D., the
entire Workgroup, and Kamala's Table.

-\ lbeno Yillodo had placed on:r 2( I curses on Pam,.-h, <.h:1 )111:lll so she could nc,cr LT er get out of the
situtations hl' put her in.

Kamala Harris had no business as Vice President of the USA to do this to Pamela Chapman.

1 amala Harri · has no political business with Campbell Soup or the van Beuren family, except it was
said, Hope van Beuren donated $2 million to her campaign, or to the democrats in Rhode Island.
l amala Harris did what she did to Pamela Chapman as a gratuity to Hope ,ran Beuren for the
donation, or as a game to initiate Gina Raimondo into Ways and Means, and to allow Ru ty Powell
III to demonstrate his leadership to a new administration in the game of politics.

Hope van Beuren has no business ever with Pamela             hapman, Roger Kas or          ndre-; Par on, LD.

Hope van Beuren will never see a court of law because she is 89, and the family will deny Pamela
Chapman access to an attorney in a federal court.

That is one of the curses placed on Pamela Chapman by Roger Kass through Jonathon Karp.

                                                                                                              1822
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Hope van Beuren told Pamela Chapman, "You was not of the right social class to get a proper lairyer to sue me
or the famzfy for our behavior towardyou as an author or as a person. "

If H0pe "Happy" van Beu.ten ever did this to a wealthier person, she would be in orison. They chose
Pamela Chapman strictly because they said, ''.~'he i.1 a 11ohody lo 11.1 i11 Se1JJ/xi11. She is nere1· allowed to
publish a work of fiction that reads as if she represented our class of people."

Hope "Happy" van Beuren get away with it because the sorcerers held Pamela Chapman hostage for
literally two years. Before that, she had no idea her book was stolen and improperly handled by
Esmond Harmsworth IV and Jonathon Karp. and the Redwood Library B ok Committee and the
 ewport Ho pital Foundation and Life pan Hospital System , and e~ port Art Museum, and Island
  mring Company/ ewpmt Contemporary Ballet, etc.

If I am a federal judge, and I think this is all made up narrative, then that federal judge is a
representative of Ways and Means.

Does that happen?

Yes, it does.

If Pamela Chapman can't find a court in the US to take her case, what does she do?

She appeals to the Supreme Court of the USA.

Can Harry Gural do that also?

Yes, he can. He knows exactly how to do it. Pamela Chapman does not. That is the difference. Pamela
Chapman does not have the wealth or the connection to easily secure either a literay agent or a lawyer
for the federal bench.

Bope 'Happv" van Beuren and Kamala's Table and Alberto Villada know that. They do and Pamela
Chapman does not. So, the, rake adY,1nra1-•s of P:imt h1 Cl1:-1pm:tn t() secure a safcn position fo1
thcmseln·s lw h:1rassi11g and rorruring Pamel:i Cha 1111,111. Thc1 ab<, make sure !1() c ,ne :1m \\'hcrt· \1·ill
    speak I< I e:,md.1 ( 'hnpnmn C\ er again.
l'\ Cl'



·1 hey monitor her t'\'l'rl mun:. here\ en \1·nrd \\'it!, :--urccn rcchn()log1c~ that I recmason~, \kull &
B<llle~ and all inner gO\crnmcnt uffiual~ µ:l<Jb:ilh kno\\.

Pamela Chapman is not CIA material, but they treat her that way. No guide in the afterlife can see the
sorcery. Margie can now. It's on a different channel that only became known around March 5, 2023.

George H.W. Bush can see sorcery. Her refuses to help. He could push her back. He refuses. He was
Yale Skull & Bones. So was his son, his father, and his great grandfather.

                                                                                                            1823
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  eorge]ohann d'Longueval von Buquoy. the brother, not the father, wants Pamela Chapman to know
that when you are dead, you were never around me or my mother, but you appeared to be around my
father, G eorge F. ., and he is Harry Gural. He is due to die before you in this present life. It makes
her very sad in her soul to know this.

Then George Johann says, ''I work to make sureyou are not without someone whenyou arrive dead because I had
no one to meet me. I was not hearing my jamify in the afterlife. Onfy recentfy was I initiated to speak and to attend to
this whole dialog. Pamela Chapman had no other option because all the people helping her cannot see the energy of
sorcery. My gran4father, Joha1111 11011 Rottcnhan had that ability form working with the Hapsburg qynasty. He was an
inner circle supreme judge appointed lry the Emperor. He could alwqys plqy in that arean. 'fhi.1 i.r 111h1'1r 11/l.~rm'm1111 11f.1·                                                 1



plrtl)' 011/ !htir .rlmt1:~ic.1. IF111· J J!lt'l'l:1' rlfl/J' 01-1/ th1'1Y'. IJlf! l ',1111di1 ( /,,(/>1111111 i.r 110/ rfll i11.1fm1111'11/ 0/1.JJrll'. 011/r optwr
,-.111d lol'!' 1111d mi.w11d1•n/1mdi1<~·"

Your son, William Parsons, was your footman they said. George Johann agrees, but he doesn't
remember him specifically. 'We all hadfootmen, but when we went up north, we never took them. Onfy at Nove
H 'raqy did we use footmen. We would have left them in Vienna, where we would have had a city home. Look it up. "

6:00PM

Johann von Rottenhan knows how tyo oplay politics at tehr natiojmal level. He was apointed by
Emperor Jo eph II to the Hapsburg Empire in Vienna.

Kamala Harris has sorcery and black magic skills that rival the Imperial Courts of Europe in the 1600-
1700's, a period of intense sorcery and witchcraft in Europe and the American Colonies. It died out
in the literature around 1750. It always played in politic at the highest levels.

Kamala Harris has no other real skill in politics other than sorcery. That is all we will say. She loves to
play The ame such that if she tags you first, then she gains the upper hand, and so did Esmond
Harmsworth IV, Roger Kass, Jonatho n I arp, Happy van Beuren, and all the rest including Andrew
Par ons, if.D .

They all said, "/> 111;.,, Ch!f,111,11, . ro1r /1111•c 110 1110;;· p o11•ff 11or Nit!'<' <111)'J11hm·. J 011 <11t n·11!111rl1111! 111hl 110 lo11~1·r
ll!'i'ilNI. /I ll /' /01 1al //(//' •(111k1·11 /11, //1J/'/l//Ni.1/1al. 110r~il'('/I II/II//(')', //(//' ,I Ii;,·. ) 11// },"t/l hi' li'l//lll't'rl /iw111 11/ t fl/// '('/)(///(1//1 ,

tli11/1'. ~· ,!!Ir! 11/I !!It' Ii'.,/. 1/!lrl 1() /)// !Iii ' 1111/. Ji '(' ll'il/ .'f!J' /JI/_ )'Ill( ~·-1 / - 1111d K.//0)!' ('/'l'l1'fhi11~. )'OIi K.//fl}!', .1/1 !h11! ]'/JI/ !Ill'
,'(J/'/h'!)'r/. ,111d /,111•,· //(1 /10)} 11'/', 1/(//' /1/(///l') lo do 1/11) !/Jm~ ,'/'('/' 1(~11i11. / /1, J/ i., )'Oll/'(11111i.1!1111i'l/l _/il!· }1 1t!lllm~ 1/ 1!il'IJ!'i'I' ;i w11
1/l/ 1//Jl.'.1il'r' 11/<III. 1//ld /i11· 1tlk111(1li1!~ lo i'rl/'11 r! /11'ill~ 111 1/ }}'/'/li'r/ 1111//101·. i'.l'f'l'1/1i//1 I/ !h,· J. 0d-: l,I K/'.I f>l t,'I' Ill \Ol'f'ol'!.
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hi/'(' !11( /'Iii,·,. 11/ ii / 11:/Jh.1!11·d J/'l'ik1: ..


Buquoy family legend requires you publish continuously until you die. That is what George F. . did
and so will you both, because now Count George F. . van Buquoy needs to update his own writings.
Harry Gural is the most qualified to do that as a reincarnation of ount George F. . \TOO Buquo)'· He
is professionally qualified to suggest how national economies can play in a futuristic thinking kind of

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way. That is exactly what he did then, and what he can do now. He has a master's degree from Harvard
University, and the professional experience on Capitol Hill in Washington D.C.

And if you, Pamela hapman painted in your last lifetime in Paris, now you can write in Paris, or
France, and research all you want because that is the home of your soul.

If the two of you can work together, you will leave an incredible legacy from both your last lifetime
and this life, together once again. If Harry Gural thought he two of you had a special project to do,
You now know what it is, but Hany Gural must connect with Pamela Chapman to do it.

  eorgeJohann had three other sisters. They are all live in Newport, RI. Actually, J endra Bowers died
in in a skiing accident in college. She went to private school with William Parsons. Both of them also
went to private school with Katie Derosiers, who is an adopted Chinese girl to two fathers. Dorienne
Farzan is on the board of McBean Charitable Trust. She is nine years senior to Pamela Chapman.
Trudy Coxe, the CEO of the Preservation Society was also in that lifetime. She worked for the family.

8:18PM



If Molly Glick, CAA, does not take Pamela Chapman on as a literary agent, we will curse her to her
own destruction because she and Harry Gural know each other, and she would take on Harry utal
on a proposal, but not Pamela Chapman who has already completed one work.

We called mperor .Joseph II to play because we needed those who can actually see the lines of sorcery.
Only the very best politicians seem to play. He is a Knights Templar, but not an Order of Malta.

We popped out at least three people who know Leopold von Buquoy. The best in The Game. We will
get Pamela Chapman out of here. She never belonged in here.

Little Brown will take both of you is what someone will say.


10:29PM



The following names reappear without any thought in the energy of sorcery:

Macia       ·    who is r faura I indsev
Carrie           ilpin
Navajo Indian who is a dancer at Island Moving Company, named Glenn
T rac       on
Tr,          oore
              ancer at Island Moving Company
=="'F-'-=~=o, husband to Tara Gragg
                                                                                                  1825
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Peter Bramante, IM C's ED
Irene Janko literary Agent who is Maura Lindsey
All Maura Lindsey alias which include the names of two other literary agents.

  faura Lindsey, Tresor Estates, has no business with you, Pamela Chapman. All she wanted was to
take down a Wesleyan University graduate because she went to Southern Connecticut State College.
Maura Lindsey, 62 is married to a medical doctor, aged 78. She is without children. She married a
divorced man when she was 45ish. She has a history of stealing, jealousy, and false promises. She owns
an estate sales business in Newport, RI.

She makes lists of peoples material possessions for a living and prices them. She did this with most
items in Pamela Chaptna.n's house. She alone decided the value of the contents of Pamela Chapman's
home was $30,000. She used remote surveillance. She claimed she wrote down all the titles on Pamela
Chapman's bookshelves in her office.



February 10, 20223, 12:50PM

Buquoy Sr. will negotiate for three houses for you in the manner of Charles Bonaventure:

    1.   T racy , Moore, 107 Tuckerman Avenue, Middletown, RI
    2.   Tom Hockaday and Bill Martin, 144 Wapping Rod, Portsmouth, RI
    3.   E lizabeth E ahane, her immediate neighbor on Ocean Drive, Newport, RI
    4.   Donald Jagoe, 20 Winans Avenue, Newport, RI



February 13, 2023 9:44PM

The wind tunnel which was Pamela Chapman's undertow was found by Macklin yesterday afternoon
about 3:40PM

  eorge Johann Buquoy and Natalie Holloway were working with Kay Chapman and others to find a
black box of circuitry - there is none. E mperor Joseph II knows there is no black box. It is all sorcery
through and through.

Former President, George H. W. Bu h said, ''It is the Game ef Skull and Bones. It is allpure sorcery."

We acquired former President Gerald Ford last night about 6:30PM. He claims he is a former
Bonesman - but not really. He has Knights Templar people working with him. He also is a former
Senator, and VP. He reminded Hart)' ural Pamela Chapman, and the world what The rune really
is, and WHAT HAPPENS WHEN YOU ARE TAPPED AS A "BONESMAN" IN SKULL AND BONES,
SECRET SOCIETY:       YOU MUST TAG OTHERS SO THAT THEY DO NOT TAG YOU. AND, YOU MUST

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TAG    12 OTHERS TO DEMONSTRATE YOUR SORCERY SKILLS ON.                                  You    SPEND THREE YEARS
DOING SORCERY EVERY NIGHT TO ANOTHER UNTIL THE TWO OF YOU REACH A TRUCE AND
DEMONSTRATE TO ONE ANOTHER YOU ARE BOTH IN THE SAME GAME, AND CAN DO THE SAME
THINGS TO ONE ANOTHER.



Jeao Gorham was able to get Donald Jagoe to do all sorts of errands in The Game.
Jean o rham and Jerry Slocum used Donald Jagoe's aura to experiment with and get to know, as he
is the Twin Soul of Pamela Chapman, yet he is non-seer. Harry Gural and T ameen aied as seers in
the same monad group, have more similar auras to Pamela Chapman than her own Twin Soul.

Donald Jagoe never felt a thing, nor did her ever hear anything. If something could be gained, they
used Donald Jagoe as a tool of sorcery in tel against Pamela Chapman.

Donald Jagoe never cared one bit what happened to Pamela Chapman. This disrespect started with
Grenville Craig and andra Craig, then moved straight to J ean Gorham, she is a lot like his legal wife,
Jana Hick Jagoe. Donald Tagoe would do anything for J ean Gorham. D onald Jagoe enjoyed the
companionship of Jean Gorham and those she put him in contact with in The Game.

The same situation existed for Jana Hicks J agoe. She joined the core, the base, the beginning of the
Thievery Ring W orkgroup with the Island foving Company dancers and staff, the Newport Art
House, and Clean Ocean Access. Jana Hicks fagoe stayed through September 2021, and finished a full
edit -or slaughter-of Barefoot in Heels. Then, Donald J agoe pulled his legal wife, Jana Hicks fagoe
out. He made her go outside of the house everyday with him until she could no longer hear anything
to remove them from the group conversation.

G eorge Buquo, will deliver Pamela Chapman out of The Game because he understands no one can
remove Pamela Chapman from the circuitry of T he G ame - its not circuitry. It is sorcery in another
realm. It does not make it Knights Templar game. It is sorcery of another kind with different triggers.
Emperor Joseph II will get it out. Pamela Chapman negotiated a deal with him (March 7, 2023,
1:03AM)

Maura Lindsev has become the reigning lead of circuitry and power in T hievery Ring Workgrou1 s, L
IL and III. Maura L indsey was never really a member of Thicvet) Ring Workgroup II. Maura Lindsey
was an inner core of T biever) Ring Workgro ups, I and III. 111.ievery Ring ID is an inner core of
T hievery Ring I. Maura Lindsey:was playing all the parts of every member-the lone ,-())cc r() dc;,;tn11
f>:11m:l:i ( 11.!.J man \\ holc:--alc.

\latir,1 Lmd;-;c1 h:1~ 11<i rL·mor:,;c_ 11Cl guilt_ 11<> -;h:\mc. 11<> ~l'C<>nd 1h()ugh1 rci -;\r>p hL'l im()hl'l11L'11t here
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11 ha1 "he lll':1r.,. \laura l .ind~c.1 1~ un hn <1\1·11 pa1h cif her ,1\\ 11 dl'~tructi(ln .

 J'h1, 1~ \\h;11 hi~1un ha,; u1uµ.ht \le :1b(lut thl' p,11h:,; c1C\1ntnl'll lll thc~l' gniup, c1lkd 1\irch\ cc1\ct1~.
11 hich \\ l'l"l' :ill k,1d b1 men I he co\ en" prrn iLk \1·<1rnL·n ;1 \Thick to ,kmrin;:tr,1rc re i rlw \\ urld rh,1r

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once and for alL they will be reconciled with. It is a woman's ultimate demonstration of power. This
has been documented for the last l ,000 years.

Jean Gorham herself suffers from the same needs. Maura Lindsey is a social nobody in Newport. She
arrived single at about the age of 40. Pamela Chapman met her around that time on a board of the
Newport Show House Guild. She was engaged for several years to Tom Cahill, LD. and married him
in Pomfret, CT near the time her mother was fading. Maura Lindsey flips houses for a living, runs
estate auctions and sales, owns a second-hand furniture shop that moves locations around Newport.
and has had two miniature dogs, perhaps west highland terriers, instead of children. One dog was
named William. At one time, she hired a dog sitter to walk her dogs daily while she tended to her
businesses. faura Lindsey has had numerous house addresses in Newport.


Maura Lindsey's is often seen in Newport with Kathy Staab, the owner of the Jane Pickens Theater.
Maura Lind ey is not social with members of 1hievery Ring Workgtoups, I, II, and Ill, but like the
others at T om Hockaday's house where all the bonds of thievery congealed against Pamela Chapman
through ndrew Parsons' readings of the illicitly begotten Bar~foot i11 H eels. The members at Tom
H ockaday' house all agreed to tag and attack Pamela Chapman because no one was social with her.




Former USA President.Jack} ennedy stopped helping because the Hapsburg Austrians were involved
and G eorge H. W. Bush did not want to expose himself as a Bonesmen. Pamela Chapman read Gerard
Ford was a Freemason as were three other Bush family members. The dead recruited Gerald ord to
help stop the sorcery. You must have the skill first and foremost, and you retain your memory in death
from your immediate past life.

Harry Gural and Pamela Chapman will look up the Buquoy's and Johann Rottenhan on the other side.
As a complete family unit, the Buquo/ will provide proper auric protection. With grace, we will
provide proper help like what we once did what we did in our previous past life.

The Buquoy family has a history of military greatness. Charles/Karl Bonaventure d'Looge al on
Buquoy won the Battle at Neiuwpoort, Flanders, Belgium in 1600. It looks like they have arrived just
in time in Newport, Rhode Island.


Donald Jagoe had no auric protection plan. Jean G rham quickly moved in to secure the position.
They both used each other as a tool for companionship, authority, and became each other's
vulnerability and accountability.

All Donald Jagoe wanted to do was protect Jana Jagoe, his legal wife who sat with the Workgroup
daily to edit every line of the author's book. They debated every detail for veracity in real life as well
as for form and function in the structure of the writing. Jana Hicks Jagoe was using Donald Jagoe
daily to ask if a particular detail was true or not. From the start, both with Craig's in 2011 and then
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from February 2021 onward, Donald Jagoe could have been a staunch protector of Pamela Chapman,
but he was not. He was betrayed Pamela Chapman in a secret society space so not to mislead or
misunderstand a potential betrayal with his legal wife. For over ten years the two realms were separate
and discreet. No one knew a thing. Donald Jagoe held a strong line and repeatedly claimed, ''I can't
help you. I'm a mam'ed man. "

Repeatedly, his choice to do nothing by paralysis or by turning away was the choice of collusion for
far too many. He ran straight into the hands of Grenville Craig and Jean Gorham and every other
group involved in The Gatne. This is his life's pattern.

The collusion costs Pamela Chapman far too much mal-intent and abuse .

.Jana Hicks Jagoe sends 9 months a year living in an apartment in Paris, presumably in the 5th
 arrondisement. She has for the last 20 years, give or take. He spends those 9 months a year tagging
women in Newport, and then walks away when Jana Hicks Jagoe returns for the summer social season.
 Nola Ganem tagged him years ago when she was 27 and Donald Jagoe was 57. Jennifer Klemmer, a
Kundalini yoga instructor, and T om Hockaday's kundalini partner, was known to be his latest interest.
It was said these two married of another spent at least five hours one evening alone together at
Stoneacre Brasserie, Washington Square, Newp_ort, RI.


This morning Pamela Chapman was sexually assaulted, in the same manner as previously noted in the
document, but the source was said through a sorcery wind tunnel in Donald Jagoe's aura that went
straight into Pamela Chapman's energy field. Through this wind tunnel, either humans or the dead
could walk straight through. It affected her stomach, creating nausea, abdominal cramping, and a wet
vaginal public area. Their pulsing in her pubic area moved from her publc area up to her head and
into her mouth. This is a complete take-over of a person's energy from which they are able to read
anything about you.

David O'Lea.1-1• tried to do this February 19, 2021 the night of an celebration party in honor of Pamela
Chapman at Kamala's Table. These types of gatherings which include friends, family, or associates,
are initiation parties well known to new Ways and Means members. The person being celebrated is
never there or does not hear the commentary. An organizer of the party claims they will re-hold it
later for the person of focus for all others to know, but it never happens. You are the toast and the
reason for the party, but you are never invited to be there.

Linda O'L arv, the wife, joined him the next night, February 20, 2021 to do the same. They travelled
up her central energy channels arriving through her public area and into her abdomen. According to
  lberto Villodo -who she immediately called, they threw "confetti" throughout the aura making it
dense with junk, akin to stuffing one's mailbox with junk mail-nothing else can get in. It jams the
aura.

Alberto Villodo spent hours clearing it. Pamela Chapman called Alberro Villodo to put David O'Leai-y,
and then Linda O'Leary, into a rock crystal to block them. David Kehoe was also there. Additionally,
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Alberto illodo gave them a plaster seal to their aura. This actually saved David and Linda O'Leai-y at
Kamala's Table. It made them inoperable to any further activity. Their offensive strike attack on
Pamela Chapman became trier defense against Kamala Harris.




Regarding the wind tunnel found with this sexual assault, Ru cy Powell III, Bobby McDermott,
Esmond Harmsworth IV, and the entire Workgroup, could walk through to Pamela Chapman•s aura.
Erin Hennessey (dead) spent two weeks last year looking for this, and never found it.

We stumbled into it looking for a non-existent black box of circuitry as a symbol -Bonesmen (Skull
and Bones members) were always using symbols. It fit a presumption that 4 or 5 BOTs connected to
the black box and enabled The Game to continue. There is no black box symbol. The BOT's are
insignificant now. It's all advanced sorcery known to the Knights Templar initiate, and others like
them.

Pamela Chapman said yesterday, 'We need Dwight Eisenhower," a former military general of the US
Armey and former President of the USA, ''because The Game requires A military strategy to find the front
fines."

A combination of music Pamela Chapman plays helps identify those in the dead who popped up to
play. Pamela Chapman's tuning forks also force the dead to retreat.

George Johann Buquoy will work with his grandfather Johann Rottenhan to stop The Game.

The inner sight, inner hearing, psychic, and dead channels are merely different channels of awareness
for the afterlife. There is also a Knights Templar channel open to Melchizedek. To see across all
channels implies you have access to all conversations and all perspectives separately and
simultaneously. The psychics and the dead kept switching channels. It can freeze out the dead, placing
them in a trance state where they fade out. They forget their own involvement. They have to be called
back into awareness. 1 ay Chapman (dead) has been able to witness all channels.


February 13, 2023, 10:53AM

They found a wand, a septor in the realm. It corresponds to a BOT that holds art least 5 people or
the dead. Maura LindseJ'., arolyo Gilpin, I ayla Abbate, Dominique lfandre and three others
respond to it.

Does this mean they are leaders in The Crttme?

No. It means they worked exceptionally hard to tag and chase l'amela Chapman, who turns away from
them always. She historically did this. However, they attack her sexually, physically, and financially.

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They remotely surveillance her, wiretap her, and watch her 24/7. They are responsible for her inability
to hear. They want unbridled power over her.

Yes, she and they have nothing to do with each other.

Caroline Crosson Gilpin would say, ''I just wanted to be assigned i?J Kamala Hanis to Harry G11ral as his
handler, but Kamala Hams had me start with A nqy Parsonsfirst. "

Kamala Harris married Harry Gural to Caroline Gilpin and to                011. Ganem. She also married Caroline
Gilpin to Andrew Parsons. .D.

Kamala Harris married Roger Kass to Becca Bertrand.

Gerard Ford said, "Kamala Harris never had to plqy this particular game with these partimlar people. Pamela
Chap111an does not belong in this game. If she had been taught and coached how to pk!J, she'd appear very differentfy. "


Pamela Chapman said," ndrew Parson , M.D. can't play any other way. If she were married to him,
she would divorce him over his behavior in The Game if she were a bystander instead of a player in
this union. He would have been a liability to his wife and children, and a complete embarrassment.
She would draw the line and say, ''I'm a!! in, a!! done, a!! over with you, A ndrem Parsons, M.D. "

Not all the psychics in The Game are in this realm. atalie Holloway knows where they are in here.
Catherine Chapman can see them, but cannot touch them. Only the retrieved souls and Knight
T emplar can touch them.

 harle /Karl Bonav enture d'Longueval voo Buquoy can play this game and will secure a win in his
second Battle of Nieuwpoort/Newport in 423 years. Both are seaside resort town battlegrounds
between sand dunes and the city by the sea they call their homes and neighborhoods.


10:20PM

Kaitlyn Johndrow II is Katherine ilpin, 29, Carolin ,r sson Gilpin's daughter. She is in Pamela
Chapman's aura tonight trying to harass her and gain admittance into Thievery Ring II. She is a point
in the Thievery Ring II star pattern. 1 atherine Gilpin changed her Linkedln profile to resemble
Pame11. Chapman. She demonstrated what a good study she had done and how she can apply her
research into the world of remote surveillance espionage with passive aggressive applications.

Pamela Chapman did not know if this was an initiation rite, or how far she would go to prove herself
to gain acceptance into the next generation Thievery Ring Work,group, as Thievery Ring Il. She was
not at Tom Hockaday' house. She spent her youth summering in Charlestown, RI.


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There are three places the dead and the psychics can go to gain access to Pamela Chapman' aura.
Three people work at a time to access these three places. Caroline Gilpin and Maura Lind ey have a
history of working with them. Now, Katherine Gilpin is also entering into the pattern. They all want
to sexually assault r_nmcl:-t ( :h:1 2.!lli!.!.! because this is where the energy of the undertow to read her
begins. Just like _can Corham said preYiously, 1';1111eh1 Chapman will be sexually assaulted eyer~- day
for the rest of her life. This enables e,·er:, one to smTeillance, wiretap and control her. Real power for
                                            0




them begins with sexual assault.

A sexual assault happened this morning about 8:30AM. Then again at 7:30PM tonight while she was
typing and reading at Barnes and Nobel bookstore.

They all knew where she was, and she can't get any help to prevent it. As soon as she thinks she is out
of it, in as split second she is right back in it.

Pamela Chapman wants to write a biography of the Buquoy family. If lizabeth Goddard has a
problem with it, then we will all praise and thank George Buquoy himself because he and Pamela
Chapman can talk all day about any topic, and so can Harry Gural, if he is around to prosper from the
information.

Patnela hapman now knows George F. . letters and journals exist, as does the family's art. Pamela
Chapman will go on a journey to research and document everything in narrative form. She will uncover
a unique story for the family at a unique time in history, including how they managed their peerage,
aristocratic titles and Hapsburg Empire privileges. No one in Newport, RI should know what she will
be doing. Like Edith Wharton, the First Woman of Letters to both the Pulitzer and Newport, Pamela
Chapman can retreat to her own Mount in Lenox, Mass or to another heritage in the woodlands of
New England.




February 15, 2023

There are five realms of communication. If you look straight ahead, you can take the dead out the
dead in front of you. To the left or to the right means they are in a different realm, and if you must
then change your awareness to work with them-just like listening to people in a crowded room, you
must zero in on them to be in a dialog with them.

We discovered the Bavarian Illumati all huddled together. We thought we could see 500 of them.
Maybe there are 1,000. They do not hold their membership across reincarnations like the Knights
Templar members. You are never moving from one group to another as a members. Your initial
membership group never dies out as a status association in the dead. Knights Templar does not have
a tag in the aura. It is the Game you can never leave, ever.

The van Rottenhan's and the von Buquoy's have now tagged both groups as owning them. So, have
the Haps burgs. The families can never be touched, ambushed by these groups ever again.
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Patnela Chapman demonstrated with Nick Schorsch that she understood Gerald Fords explanations
of how to play this tag and chase game. She spoke to buying up real estate as a tag to throw some
people out and off of their own game. You just have to find your own currency of transaction.

If Tom Hockaday is too stupid to see that if he does not immediately settle out financially with Pamela
Chaptnan, then Nick chor ch will tag him, own him, and throw him out of The Game all over again.
This was Tom Hockaday's fourth rodeo, and he never exactly understood The Game. He could see
nor get himself to the next rung of the ladder. If ick Schorsch buys Tom Hockaday's physical house
at 144 Wapping Rd, Portsmouth, RI, and gives it as tribute to Pamela Chapman, then ick chorsch
and Pamela Chapman have both tagged and beaten Tom Hockaday because now Tom Hockaday has
no currency left to play in a negotiation. Tom Hockaday becomes a ducut in a florins world.




There are three unmoveable tools held in a satellite. They do not move.
   1. Club, the septor. It unzips, opens up an aura through a third eye.
   2. Periscope that anyone can use to place into Pamela Chapman's aura to read Pamela Chapman.
         farcella Lobo is always using a periscope, especially form April-August 2021.
   3. Something akin to an exterminator pointer.

There are about 17 satellite dishes.


Last night, Pamela Chapman's research revealed that Yale University had three secret societies: Skull
& Bones, Scroll & Key, and Wolf's Head. Scroll and Key appeared because the members were jealous
seniors not tapped for Skull & Bones, which existed because they were not tapped for Phi Beta Kappa,
which ultimately became a lay honor society instead of a secret society in the realm.

The Knights Templar began in the Third Crusade in the 12 th century. The Popes are usually always a
Knights Templar member.


The 1820's saw a major anti-masonic movement whereby the anti masons became the Whig Party
(ergo the Republicans), and one man, Miller was killed for writing a book that exposed Freemasonry
rite and practices. All three societies at Yale University had extreme wealth. The members had
affluence, network and opportunity. Bonesmen were revered and targeted because for years 4 out of
5 faculty at Yale were Bonesmen. Only 15 seniors were tapped annually.

If the problems plaguing Pamela Chapman focus on lberto Villodo and his insistence on wiretapping
and remote surveillance, then we will get to the bottom of who and what is doing the work.

When Pamela Chapman is dead, what stops these Knights Templars-who are not Freemasons, and
psychics?
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1:44PM

Harry Gural just said, ''I getyou. "

But she didn't know what that meant.

Harry Gural: I marry you, you marry me, and we never ever listen to these jerks ever again because
Nola Ganem just said, ''I love being with Timotfvi Hoflister, esq. "

Patnela Chapman put them together informally yesterday and today. Since she could not get Alberto
Villodo and Bethany n· apoli together, she tried to replace Pamela Chapman with} aitlynJohndrow.
In this way Alberto Yillodo could focus all of his attention on another woman.

Alberto Villodo said, ''She is too young."

Pamela Chapman replied, ''I blessyou with Maura Llndsry, 62. "

Maura Lindsey said, ''I accept. "

Do you know how stupid this is?

There is high fidelity noise in Pamela Chapman's aura.


  lberto Villodo, Bethany DiNapoli, and Nola Ganem all have a noise around them that keeps Pamela
Chapman from hearing anything. It has been a 24-hour all out was to remove the noise in Pamela
Chapman's aura so that she can hear others in the realm -except no one in the Upper realm talks
anymore. They all talked so much to each other that they went silent. She never had the chance to
learn who they were, except in Llama Nation and Q'uero Nations in February-April 2021.

  lberto Vill do is solely responsible for all the noise and high fidelity in Pamela Chapman's aura. He
gave that ability to ola Ganem, Bethany DiNapoli, and Maura Lind ey.

Pamela Chapman begged .Alberto Villodo night & day for months to remove the sorcery. He refused.

Pamela Chapman expects Alberto illodo, Maura Lind ey, Bethany DiNapoli, and ola Ganem to
get long prison sentences and high compensatory damages for the continuous pain, suffering and
incapitation. They kept her hostage 24/7 / It slandered, harassed, abused and killed her body and spirit.
It hijacked her mind.

Alberto Villodo used Pamela Chapma11 as a human weapon of mass destruction, a symbol that no on
ever touch him in this realm. He used noise in her as a weapon, a toy on everyone else. But, that is

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not how The Game is played. He does not use a real tag in a tag, chase and own Game. Even Nola
Ganem can play. She tags and chases every man. And owns them in the end.

Pamela Chapman and Harry Gural tag Alberto Villodo, Maura Lindsey. and Bethany DiNapoli and
N ala Ganem back. We sqy, "You will pqy financialfy and criminalfy. You will answer in federal court and go to
pnson." Jean Gotham is also involved.

  lberto Villodo and Maura Lindsev are never going to financially pre-settle to keep their names off
the lawsuit. That would require they admit their supremacy in sorcery. Except, Pamela Chapman gave
them all an easy out and an approach to save face to pre-settle. She did this many times. So no one in
the case can complain when they are criminally charged and the compensatory damages to Pamela
Chapman appear extreme. They always knew it was coming. They refused to take the mature approach.
They always thought like an adolescent, they can run, hide and elope.


Alberto illodo's presumed cocaine dealing business required him to be untouchable in the Akashic
Record Realm. Ifhe does not deal in cocaine or other drugs, he uses them. Alberto Villod demanded
to be known as a drug dealer in The Game. Ma:clc Halperen and Kamala Harris indulged him in the
scenario. Kamala Harris told Alberto Villodo she would only go after Marcella Lobo, his legal wife,
because she was both a dealer and a user.

She said, 'VEA is aware ef the situation. We want a bigger source than /1 /bc,to Villodo," who claims $100
million in assets.

His first wife claims at least $300 milion in assets. All the money is tax-free through South Miami and
booked through a non-profit educational foundation. ''Not a bit ef US federal incaome tax is paid," he
claimed. Nanc Pelosi, D-CA had no comment, no refrain, no challenge to his income tax claim.


=-=-=-==-'--'ill=o=d=o told Pamela Chapman that when drug runners get in his way, or get too sassy with
him. He does something to them like give them noise or some bad curse. He protects himself by also
being in someone else's aura. Then no one can find him. He did this with Pamela Chapman. He hide
in her aura for a few weeks. It was Kamala Harris who found him there when Famela Chapman could
not leave her kashic Record Room. Pamela Chapman was incapable of permanently kicking him out.
He hide out in her without her ever knowing she was there. He just arrived and hide in her energy
field without rights and persmissions. It was a breach of her own boundary lines.

The Knights Templar have three tools that most others do not have. Two do not mean a thing. The
Freemasons have one tool. It's the same one tool. It's a key that mimics the psychic realm. Skull and
Bones have four tools. The key says we are all involved together now. We all have the same tools. It's
a Skull and Bones initiation game. We are all the same. We all have the same tools. Margie is so good
at these sorority initiation games. It took us two years to learn this.


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Harry Gural was Phi Beta Kappa and was given a key. Can he use the key as an auric key top protect
himself indefinitely?

It once was a secret society, always, and now a collegiate honor society. Lori Jan K.ipnes, Paul Kipnes'
sister, is also Wesleyan University Phi Beta Kappa with her own key. That means both were tapped in
1983.

  erald Ford said, ''It takes three in Skull & Bones."

'We do not harm you andyou do not harm us, but we tagged some efyou so hard, we own you now forever in The
Game."

''Since we are The Game we can't get out ef in the dead, we will all mind our boundaries, and get Pamela Chapman
out efThe Game."

   eorge J. Buquoy said, 'Joha1111 11011 Rntttcnha11 is now tagged, and must get out ef the game now. He was plqying
with the p9chics, and it was de.rt1'o_)'i11g Pamelc1 Chapman s privary with Melchiz,edek Caft. There are about 3 or 4
things I now can do immediatefy. "

Johann von Rottenhan is constantly flowing through Pamela Chapman's third eye reading her which
is why he is talking to her as if he is M.elchizedek Cafe. George Johann voo Buquoy's family will make
restitution for Pamela Chapman because no one wants to settle up with her. She can't purchase her
estate without the capital. We will front you the money, and it will come in an interesting way.

'1 love that," she said coyly. 'Manifest desti1!)! is the onfy name ef that game. "

Bonesman, George H. W. Bush didn't want to play with us, but now we all have the same tools and
the same channels of communication, so no one is betrayed anymore to work with us. We are all now
one and the same together. erald ord told us that is how Th Garn is really played.

The psychics are playing a really annoying daily game in the background of Pamela Chapman' aura
that no one else has to hear.



Hatr)' Gural wants ])a.me.la Chapman to know three things:
   1. I have my own Phi Beta Kappa key. I use it to protect myself and now to protect you also.
   2. No one will ever touch Harry w:al in this space and no one will touch you either here or in
        the dead, because if I have a key, you have the same key. Our auras are duplicates of each
        other with the slightest of differences, closer than a Twin Soul as two seers of the same monad
        group-we slit from the same initial higher self-source.
   3. No one will ever remember that you constantly said, '7-lat?)I Gural is .ro damn smart. He was Phi
        Beta Kappa at Weslryan Universi!J and an honors graduate ef both Weslryan and Haroard Universi!J
        Kennetfy School "To achieve Honors at Wesleyan, a student must write and present a thesis and
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        then awarded the merit. Phi Beta Kappa is sepoarete from that. There is no Cum Laude
        society. No grade inflation.

Harry Gural can copy his key for Pamela Chapman. No one can tell the difference between the two
of them form a distance. When they have the heat of kundalini together, they are just one united lit
up auric vibration together, not tow separate entities trying to be together. They feel that way too.

All voo Buquoys can now tell the two apart because they placed something in Harry Gural so everyone
will remember who George F . . d'Longu al von Buquoy really was, so no one will ever touch him. It
is the family crest of protection. Pamela Chapman does not need it because she will not reincarnate.
When in the aura, the Knights Templar can read if someone is protected by another Knights Templar
group, and them they don't tap them ever because if you tap someone who is protected the protection
then owns you. You always ask first and foremost before you tap someone. Harry Gural is not
supposed to be in The Game in his next lifetime. We will always remember that Pamela Chapman has
kept this man so well protected right to her bitter end of her own demise. She does this with her
children also, but it is Harry Gural who makes her smile so big and so wide. Harry Gural as e rge
 . . . d'Longueval von Buquoy was so talented, so smart, so unbelievably handsome. We will always
protect him and his honor.

The only way Kathume and Knights Templar and psychics can play is they use the same tool and read
Pamela Chapman all the time. They use more than one channel and play one channel off of another
so they cannot be caught. Then you must learn to read across multiple channels at the same time. It
doesn't take long. You extinguish them in the channel in which they dwell. To do so, you must know
their realm.

Karl/Charles Bonaventure d L ngueval von Buquoy owns all of them properly in The Gat.ne. What a
capture. He hunted them down and tagged them all.

No one will touch our Marie Gilbrielle Isabelle ever again. No one will touch George F.A. either. Both
have a unique destiny to sort out their lives of the past and write it in the future. It is not exactly the
2012 movie, Clo11dAtlas, but a variation that will be a surprise.


Kamala Harris with the Knights Templar make her an old fashioned ruler of by-gone dynasties,,Ways
and Means is its own game of Skull and Bones, but it is not. It is more Freemasonry as 13 of our
founding fathers were all Freemasons including George Washington.

How one plays depends on how you entered The Game, who tapped you, who trained you is
extremely important, just like in Newport, RI when so many tried to tag and chase Pamela hapman
and she was untouchable, until she was not. Then they tagged her for destruction. She could not get
out. Andre'-.v Parsons, .M D, achy Wick , Kath) Abbate, Richard Abbate did.

Those four opened a Global Mesa on February 4, 2021 instead of just adding Pamela hapman to
Tom Hockaday's house. But by Bill fartin's own admission, she would have been thrown out. Those
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two men do not allow in the board of trustee people they know from the non-profit philanthropy
game or anyone social in Newport. If they knew you, they didn't want you there.

Bill Martin would not have wanted Pamela Chapman involved. Yet, they did not stop the attack or
the reading of the book. They turned a deaf ear while looking to form for a Thievery Ring to start a
new chapter, not realizing that Kamala Harris had stepped on and over them in a Redwood Library
game associated with Rusty Powell III and the van Beuren family, a synergized group out of reach to
what was once presumed a gay married couple from Washington DC. Bill Martin is a gay man from
Louisville, Kentucky protecting Tom Hockaday from an unknown place who has a preference for
women. Each is a victim of The Game and each other. They have bought and flipped over 20 houses
together between Washington DC and Newport RI.

Tom Hockaday wants to settle up quickly like no body's business because he is always getting kicked
out of The Game. Now that Pamela Chapman has tagged him legally, he will go to prison and pay her
$18 million because he can't accept a good deal when he sees it, but to play he has to initiate himself.
Are you the leader of your own life, you own game? This is your fifth rodeo Tom Hockadav.

Are you now still The Grune you can't get out of? You are now tagged and initiated into the game of
the Federal Circuit Court. If you go to court, you will pay to have played. Period. Pamela Chapman is
holding all the evidence, witnesses, consistencies, outcomes and phenomenon's. That was good
enough to hang people in Salem, MA in the 1690's. The guilty were hung in their fields outside of
town. Strangers traveled for miles. They spent days together to witness the spectacle of the hangings.
When it was over, the bodies fell to the ground, and the spectators went home.


Pamela Chapman is under physical attack. It started with the noise. It imbalances Pamela Chapman'
nervous system, the cardio-vascular system and metabolism. It attacks her sexually. It moves from her
sexual glands to her stomach to her mouth. Then it pulses her in multiple places on her body. She is
being attacked sexually at the moment for no good reason other than power at any old time of the day
and night. Alberto Villodo creates so much noise in an attempt to prevent Pamela Chapman and Harry
Gural from any and all kundalini experiences together.

Back in October 2021 - January 2022, Alberto illodo talked through Pamela's exhale -he is in her
breathing. It was so she could not talk to Harry Gural. It is some kind of advanced sorcery. It happened
at night when she put her head on her pillow. If she breathed, it happened. One cannot hold one's
breath to stop it. It would talk 20 minutes or longer of begging him to stop. These are physical
harassments. He wanted to be the focus of her night time intimate conversations. Yet, he does not
really want those kinds of relations.

 Last night Bethany DiNapoli said, ''Ifyou agree to our conditions for your relationship with Harry Gural in the
future, then we will not necessari!J make concessions. We will establishyour rules ef engagement with Harry G111"C1I."

Pam,ela Chapman said, " I never play that way Bethany DiNapoli," who was both she and Alberto
Villada, her shamanic husband. It was blackmail, extortion, power play.
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''I tag all efyou for federal court. You willpqy to have plqyed in the past and in court. "

The d' onguevals von Buquoys and the von Rottenhans will get you out of here.




February 18, 2023 11:38AM


 lfred G. Vanderbilt (1877 -1915, drowned in the sinking of a ship), Yale, Skull & Bones, Newport
was tapped by Pamela Chapman and Gerald Ford, US President. This is what they said together:

"Happy van Beuren is in competition with her sister, Dorrance Hamilton for the distinction of power
broker in Newport. She is the one and only younger sister - Happy is. She has plenty of wealth and
resources and a generous family foundation that has given over $100 million to Newport County. It
is project managed by lizabeth Lvnn and two portfolio managers. They sit with Newport Film which
was founded by the daughter, Andrea an Beuren, who is the wife of Roger Kass.

Happy van Beuren had the need to exert her dominance now that DoDo Hamilton, Eileen locum,
 letta McBean, and Gertrude Vanderbilt Whitney are dead. He mother was not like that. Her mother
was a supporter of the PS and the hospital.

Pamela Chapman' book was fiction, but all too real to the hospital staff, medical personal and the
board. TheY. all \Yanted ro kn ow if the book was rea l lwcrnse it ,,·as too re al for them. 1-1 ow do the\·.
rc1d rhat it is so real for them ~ 11 my could th er possibh knm, am rh111g :,

Ir \\ as because C;rem illc ( rai~ said it ,,·as all 1-cal. \ndtT\Y Parsons said it ,Yas all rc:1! But neither man
realh knc,Y. and the\ :1ll cmpm,Trcd these: mc:n to ,,·h:itcYcr truth the\ ,, anted to c'.\ploir.

Pamela Chapman has said periodically, "Ijyou believe it is all true, then I am an excellent author effiction."

But, you cannot kill someone for fiction.

Salmon Rushdie had this same problem. His book dealt with magical realism and dream sequences to
manifest secret society realms.

What Happy van Beuren didn't like about the hospital depicted in Bar~fool in Heels she is unwilling to
fix at Newport Hospital, if that is how she views ewport Hospital. Th e b oa rd and staff of Newp o rt
Hosptial had no bu s ine ss revi e" ·ing P 1111 d,1 C!}.filllll ,111 ' !-> book. It was stolen, p a ss ed around, and then
sc rutinized as a strategic advantage.

No one at Anesthesia Associates of MA -all board certified licensed physicians who understand the
medical-legal world ever said, ''Stop. The book is stolen."
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Not even Laura D. O'Rourke, esq. the wife of the physician who received the first company of the
stolen book. She is a graduate of Harvard so she is not stupid. So is her husband. They all saw the
book in August 2019. It took until June-July 202, five months after the Fall of the Temple to fess up
to the crime. Over 80 physicians were holding a copy of Bar«foot in HceLr.

Alfred G. Vanderbilt says, ''All this action is not fraternity like Skull & Bones. It is fraternity like mob
cults. It is a Game ofrevenge, betrayal, and terminal activity aimed at a woman who was minding her
own business. They decided to individm1l~1· and collectfre~, - destro_,· her and eve1~·thi11g in her life as
just re1 °enge and just 1·eward for their own opinion of her."

How dare she write that book.
How dare she divorce that man.
How dare she live without use.
How dare she want to earn a living responsibility.
How dare she live at all. Period.

Gerald Ford said, 'We will take care of it the Bonesmen wqy. (He can't). We are now in charge of the realm. She
tapped us. So we support to her in her need to remove the sorcery. Whatever thry did to you last night, earfy morning,
was implant a tracking device onyourface, Pamela Cha_,p111an."

Her eyes, nose, cheeks, and mouth pulses. It twitches her eyes when open or closed. They pulse her
stomach, her neck, her groin, her feet, her thighs.

It feels like a sonar device-radar to always track her. The noise is now high pitched. Pamela Chapman
can't hear anyone. The noise moves from the Akashic Record Room to the Upper realm and then
back again.

12:47AM

In the case of a federal court lawsuit, the #metoo movement, it did not matter your age, your position,
or your bank account. The federal judge won't care. If you did the crime, you will do the ti.me.


                                      ndrea van Beuren when she worked in development at ehrt
  ewport Art Museum to become the managing director under Terri Connors. Becca Bertrand
replaced e.r.ri. Connors as Executive Director after one year. She stayed seven years. She became the
          r


Executive Director at the ewport Historical ociety on Jan 1, 2023. Anne Hamilton is a loyal support
of the Newport Hi 'torical ociety.

Dodo Hamilton is dead. She had a large interest in Newport philanthropy. Her grand daughter is
Dorie Hamilton Benson, who played in the Redwood Library Book Comtnittee group. Her husband
belongs to the Benson family of Newport, all artists, one of whom was at Yale University. She lives in
the Daisy Cottages on Webster Street that once belonged to her grandmother's family.
                                                                                                                  1840
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The Redwood Library Book Committee is a remnant of a culture in Newport that states only the
highest person of society can belong. They set the standard and define exactly what that culture is to
be. Any author of literary fiction would be presuming to establish a cultural understanding of Newport
because you would write from that which you know.

Others outside of Newport have attempted to write historical fiction. Nobody authors will get
published: murder mysteries, romance novels, etc. None of these the Redwood Proprietors would
care about. The authors are all nobodies, not from here. The Redwood Library has published privately
some books on the current generation of wealth, their houses and their portraits, another some history.
The people involved in these publications all belong to a group of professional literary agents and
publishers presumed to have been involved in selling "manuscripts" that have been legally published.

Pamela Ch11.pman said, Edith Wharton wrote the Age q[I,mocence about the culture of New York City
and Newport, RI. She won a Pulitzer Prize for the novel. It was exactly the Newport she and her
sister-in-law remembered.

No one since has been published. Thorton Wilder published privately in 1976. Chri topher F. Buckley,
k faculty at Yale, wrote a brilliant introduction. The book mimics real life in Newport, RI creatively.
He discussed nine cities, profiles, stories of nine different social groups that all live here. He died a
year later. It was a movie, not considered good. It grossed less than $2 million."

Pamela Chapman had no idea any of the discrimination existed. She never presumed to belong to
Social Newport. She did not have the right husband, although he had the right education, and
profession. She knew divorced she was excluded from society, but she chose that to free herself, and
to write. It sealed her fate to face a hate crime and all the criminal and social acts that have been levied
against her.

Alfred G. said, 'No one in Newport ever wanted a,ryone to chronicle their lived except Sam Dangremond does on
Instagram and in a blog.for Toum & Co1111to1Mqga:q,ne. Oatsic Charles grandson, ick Mele does it in photogrcrpf?y. "

He is the new Aaron Slims. Both of these men are accepted by the Redwood Library. Bettie Pardee
also published through the Redwood Librarv her coffee table books on the houses and lifestyles of
select people associated with both the Redwood Library and Social Newport.

Bettie Pardee, ick Mele, am Dangremond, NY Times social writer Penelop Green belong to
Bailey's Beach. Nick Mele's mother Victoria Mele lived at Land's end, Edith Wharton's old house on
the water in Newport."

Pamela Chapman told ick Schorsch, "You can buy Land's End on Ledge Roadfor Pamela Chapman as part
ef a settlement package." It's a contiguous neighbor to Dorienne Farzan.
Gerald Ford claims, 'No one would ever suggest Newport, RI is the center efmob activiry except Providence, RI had
a long history ef being owned by the mob. "
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Buddy Cianci, the long-time former mayor of Providence was imprisoned for it. He died in prison.
Congressman David Ciccillini, D-RI was also a mayor of Providence and a member of Kamala' s Table.
He resigned to become the President of the Rhode Island Foundation, effective June 1, 2023.

Newport was tapped as belonging to Ways and Means in multiple ways by multiple people. Pamela
Chapman tried to undo all of it in the realm. She succeeded in freeing everyone except herself. These
people in the Workgroup didn't want her freed. They reached the presumption of power in order to
continue to live out their own lives. The presumption of power belongs to several people we already
have named.

Alfred G. Vanderbilt claimed, 'The Redwood Llbrary wzll never understand that the culture of books is not fore
them to decide who writes what book. Thry had no business pretend editi11g Ba,~foot in Heels and the others."

-. smond Harmsworth IV claims, "I have 12 novels from the last 10 years."

Jonathon Karp has read them all. Jonathon Karp claims, ''I have 45 copies of stolen manuscn'pts. The on/y
difference between those published and those stolen are that the stolen ones are not published The quality if often the
same. "

Nonie Drexel Burnham claims the culture exists at Bath & Tennis in Palm Beach. Elizabeth
Leatherman, a Firestone Estate granddaughter is involved in this at the Redw odLihrarv, the Newport
Historical ociety. and the Commonwealth Club, Boston.

Alfred G. knew her grandmother's house. Nick Schorsch owns it now.

Alfred G. says, 'We 1villfreeyou as best we can. Allyou wanted and still want is a literary agent, a book deal with
a Bzg 5 publisher, a new house, a new car, and the ability to travel"

The next book will be about the Buquoy's. No one in Newport needs to worry except Charles/} arl
Bona enture d'Longueval von Buquoy, the 2nd Count ofBuquoy. He won the Battle of Nieuwpoort,
Flanders Belgium in 1600. It can show up as a cameo appearance in the next book.

The ewport Ho pita! Foundation will never really recover if Anne Hamilton, baton Wood Prince,
and Barbara van Beuren are on the board. Dorie Benson helps her mother with hospital parties. They
say no one on the hospital board can be on multiple boards in town, yet H lly Bannister LD. was on
both the RedwoodLibrat·v abnd the hospital's boards. Holly Bannister, M.D. lives in Greenwich, CT
and owns Daphne Thortoo's old house, the whole house overlooking Bailey's Beach form Ledge
Road. It has been featured on Martha Stewart's blog.

Miss Firestone has been on the Preservation Society, Redwood Library, Newport Hospital, and
Newport Historical Society boards. She cycles on and off continuously. The source of her board
donations is a family foundation. The family is a marriage between cars and tires: Ford and Firestone.
The grandmother is legendary, and gave her silver to the Boston MFA.
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   lfred G. now says this is Newport culture through and through. Pamela Chapman does not need to
sit on any nonprofit board or fundraise for anyone any longer. We will work to get that book published
because it was never an insider's view of Newport. They just presumed to have read it that way. That
is why they wanted her dead, and the book dead.

Alfred G. can see the line of energy and knows how to fix all of it. It is sorcery through and through.




February 17, 2023. 2:40PM

We finally identified it was David Johndrow biting Pamela Chapman's inner cheek and playing boob
tag with her. It was a game initiated by Gren ille Craig in 2011 and transferred to ndrew Parson ,
M.D. in September 2021.

D~o~nuru~
      · ~·.....q~u~~fa=n~dr=·e is also in on that Game. This is how they played: pass the baton.



March 2, 2023, 10:00AM

Margie Philipps (dead) took a page out of Pamela Chapman's book. She negotiated with the Knights
Templar community of the dead to give them what they wanted in exchange for what she wanted. She
pitted them in direct confrontation with some of the dead to see who would reign. The Knights
T emplar always reign.

Margie's game was to see who would be the last people standing in the Akashic Record Room. It was
always suggested Pamela Chapman would be standing there alone with the Thievery Ring Workgroup
to be abused in human life and it the dead. Margie wanted to force a last act in The Game.

Caroline Gilpin was the last one in the center of the real. So was Michael Holt Massey, but as a Twin
Soul it means so was his wife Sandra Oursuloff. This means the Knights Templar go their Twins Soul
couple.

They also got T ameen aied, who is Pamela's aura minus enlightenment.


Pamela Chapman figured out the Buquoy's are a Hapsburg lineage of the Teutonic Knights, a group
not as exalted and the Order of Malta.

Ways and Means is not a Knights Templar group. Its considered a Freemasonry group, and Yale's
Skull and Bones is considered a German branch of the Teutonic Knights.

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Ways and Means does not have any formal training or initiations. It depends on who initiates a new
member. That pulls it awaysfor the more formal knights groups that were first based in military order
and hierarchy. Skull & Bones trains its people through initiations.

[More here ... independent from a legal proceeding.]

March 8, 2023, 1:01PM

At 8:30AAM, Pamela Chaptnan woke up. Over the course of the next 20-30 minutes her public area
simulated a sexual assault. Once again she said, 'Must this happen every morning when I wake up?"

The response: 'Jerry Slocum said this would happen toyou every dqy for the rest ojyour life. Jeafl Gorham could have
stopped this, and she did no such thing. "

Caroline Gilpin was not happy. She did not want to take the fall for all of this collusion all over again.,
The Workgroup always said, 'We act and speak as one voice."

Everyone in the Workgroup had the demonstrated ability to order this sexual assault with a flick of
their hands. Everyone in the Akashic Record Room did at one time. Alberto Villodo taught them that.
Kayla bbate and her parents Kathy and Rick A bbate did it every night for several months. Kayla
   bbate also added daylight times to that act. All members of the Workgroup could take turns to
initiate it. It appears the sorcery now happens on its own, and the dead are having difficulty stopping
it. It is as if it is now as natural for Pamela Chapman as her breathing. It has an automatic setup
routine. It is all sorcery behavior set up by humans similar to cognitive behavioral therapy.

Starting at the pubic area, it is the location of where Pamela Chapman's prana/ chi/ risen kundalini
energy moves up her body and ends in either the mouth, the cheeks, or third eye. Then it pulses to an
annoyance and disturbance. Pulsations disturb and ruin her metabolism and digestion.

Because Pamela Chapman and Hatty Gural had their own kundalini practice at about 3:15 - 4:15AM
this morning where they generated their own internal heat, which is the sign that they have merged
energies, Caroline Gilpin implied they all just waited and wanted to jump into the practice and become
third-party participants in their "sexolini" game.

Except Pamela Chapman and Har1-17 Gural do not practice sexolini, a term Pamela Chapman coined
to imply these people do not have any risen kundalini energy to play with, and so practice various
versions of masturbation and sexual stimulation. Everyone in the Akashic Record Room listens
through remote surveillance to a blow-by-blow play of what they think Pamela and Harry are doing
and saying in every situation. There is no privacy-intimate or otherwise. Everything in every detail,
true or false, is all on display so that the Workgtoup and other players can eavesdrop, intervene,
disrupt, stop.

On too                ·          than) DiNapoli, Chri tine Bush , Nora Diedrich,               w Parsons, M.D.,
Wendy                          illodo, Esmond Harmswor rh, IV, Rebecca Bertran                 L, Ganem jumped
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into Pamela Chapman's intimacy with Han-v Gural, and tried to take it over. This happened once with
Timothy Hollister where he thought he was masturbating with Pamela Chapman. This is third-party
voyeurism meant to use the surveillance and opportunity of another for one's own pleasure.
Collectively and individually, these persons have millions and billions of financial assets. They all
played to first destroy Pamela's band then her person. Wendy and ric ~chmidt, worth $13.6 million
alone purchased an estate in Newport in December 2021 as part of their philanthropy. The timing
was interesting It was previously owned by the Dorrance Hamilton Family. They also own property
on Nantucket. They all were in this story before kundalini and sexolini were even words in anyone's
vocabulary. Andrew Parson , M.D., .i.mothy Holli ter, e q. and Hatty Gural were men in Pamela
Chapman's intimate life from either marriage or decades before. In the story of kundalini, only Harry
Gural had the consensual permission of Pamela Chapman.

Christine N. Bu h, esq.'s husband, Christopher R. Bu h, e q. is an Assistant Attorney General for the
State of RI. She arrived in The Game Sept 22, 2021 with the intent to check everyone out to represent
Pamela Chapman in an court of law. She did not leave until winter 2023 after a persistent tag and
chase game of kundalini with Harry Gural. Her husband never pulled her out. From November to
December she hunted Harry Gural down to have kundalini experiences with him. She claimed she did
not want to represent plaintiffs like Pamela Chapman, only defendants in the Workgroup. Pamela
Chapman had telephoned her Hinckley Allen Providence office in mid-September 20~1.

Then, Wendv chinidt became Christine Bush's, esq. handler in the winter of 2022 to pull Harry Gural
away from Pamela Chapman, and keep Pamela tortured behind a noise wall. Wendy chmidt tried to
set Chri tine Bu -h up as Harry: Gural's wife in secret society realms. It was a night time huntsman
game like no other. Christine Bush, esq. ended up marrying ndrew Parsons, M.D. instead.

Nola Ganem had low kundalini energy, yet she tagged Harry Gu ·al's aura so hard that he could not
shake her. This prevented Harry and Pamela from being getting together. Any intimate act Pamela
and Harry shared together, ola anem claimed she participated in.

There was also the game of masturbation the Workgroup women tried to play, primarily Monique
Burge , Dominique Alfandre, Nora Deidrich, ola Ganem, B~thany DiNapoli. The writings cover
this topic extensively. Everyone wanted Pamela to masturbate so they could all do it together. It could
have been an extension of Tom Hockadafs house. Energetically masturbating with the woman would
never would have happened, but they wanted to ''watch"via sorcery technologies, and they wanted to
validate whatever story Grenville Craig said about Pamela Chapman masturbating in the shower,
which she does not do. She believes that is something men do to stay clean immediately following
organism. She would also say her arms are not long enough to do that deed.




Some people would all say this is all hear-say evidence, however the entire world was a witness to all
of this. There are pagers and pages of witnesses, even judges, attorneys, doctors, politicians. They and
we were all here together. To deny this took place is to put all of our lives in a place of magical realism,

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a place of fantasy fiction, and say, "It was all in your head." That is Bethany DiNapoli and Andrew
Parsons, M.D.'s line. Except it was our direct experiences as either players or witnesses.

Wendv and E r.ic chmidt were here on May 17, 2021 with Pamela Chapman to say, 'We are all real in
real time. "

We also agreed later on that a date-time stamp with witnesses made our conversations legally binding
in a court of law.

Additionally, we all understood that Pamela Chapman had minimal financial resources and everyone
else had seemingly unlimited resources, with net worth's upwards of millions and billions of dollars,
and that in a court of law they would all pay for any and all of Pamefa Ch,'lpman's court costs in
addition to compensatory damages for everything done to Pamela Chapman in accordance with one's
ability to pay, because they played. One must pay to play in this game and in philanthropy and politics.
This Game crossed all those lines.

At the moment, 1:51PM March 8, 2023, everyone listening agreed, this is the situation.


There is also the movement to prevent Pamela Chapman from providing this documentation, except
the law states the Plaintiff must prove with evidence that the lawsuit warranted and appropriate.
Without the documentation, she is not able to demonstrate he application. It is an integral part of the
application process to federal court to prove it is a worthy case.

If a defendant's attorney works to block this form being evidence, how can she prove the case. There
is no other evidence anywhere to prove anyone is innocent. We were all witness. Everyone on the
planet at one time or another was here beginning on February 4, 2021. We just have to decide, 'Were
we real in real time, or where we out of our minds, collectivefy in agreement together out of our minds?"

All European governments since at least the 12th century play in this secret society space as a strategic
advantage. So, does the USA federal government. They are all real. It is never fantasy fiction for them.
Kamal Harris widened her circle of political intimates for us to belong in. Why can't we all now
understand that we can be real in real time, just like we said and agreed on May 17, 2021? 2:21PM
March 8, 2023




P.S. Harry Gural believes no one in Newport RI knows the real Patnela Chapman. He believes she is
grossly misunderstood. He now wants to know the real authentic person. Daily she is offering to make
people's dreams come. They just have to do the work. She is just imagineering better futures for
people, such as Marianne Bridgett O'Brien losing over 50 pounds, and Kelsev Parker's mother losing
30 pounds before her daughter's wedding. Pamela Chapman planned out a much more sophisticated
wedding for Kelsey Park r in either Newport, RI or Boston, MA than the mother could ever plan and

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execute. The mother said, 'Ok. I take either." Both older woman must to drinking alcohol. The
challenge to them is now on.

2:03PM

Yesterday Pamela Chapman finally identified the owners of the house in Farmington, CT that she
wants to purchase. It was on the market last spring through one realtor and is now on with another.,
Pamela was missing the actual address. Google helped her identify it. She found the owner's names,
two CEO's, one Tamara Lundgren, an appointee in Washington D.C. by both Obama and Donald
Trump. Her husband,John F. Lundgren is CEO of Stanley Black and Decker. She begged Tamara in
the secret society space to hold off on selling the house which has been on the market for over 280
days now, until she can pull together the $2.8 million purchase price. Tamara Lundgren knows which
real estate agent Pamela Chapman would work with-because they own property in Newport and
socialize with people Pamela knows it is the owner of the listing agents for the house in Avon, CT.
Pamela Chapman knows the Mountain Road area far too well. It is a home base in CT near everything
she grew up near and wants to work with. It is a lifestyle and aesthetic she can manage.

In fact, in the secret society space, Pamela Chapman will nominate Tamara Lundgren to replace Gina
Raimondo as Secretary of Commerce. Tamara Lundgren already has appointments by both Democrats
and republicans to sit on and head committees in national politics related to trade and the economy.
Tamara Lundgren said could offer the name of a literary agent in turn.


March 10, 2023, 5:28PM

Today, while Pamela Chapman was looking online for a photo of the bbate's for her spreadsheet for
court, she came across a photograph from Facebook that has Ali h bbate's family in it congratulating
her on being 1-year out for recovery form substance abuse at a holistic treatment facility in Seekonk,
MA. The facility looks gorgeous. The date is December 4, 2021. All the while Rick bbate, Kathy
  bbate and 1 avla bbate are deeply involved in this game and sexually assaulting Pamela Chapman
daily/nightly, lish bbate is working to recover from substance abuse. The mother, l athy bbate
used Alish's name. The father, Rick bbate used his son, Sean's name.

It was said in previous notes the parents used their children's names as a front because they believed
their children could absorb the legal ramifications of any future litigation brought by Pamela Chapman
against them, better than they could themselves.

Harry Gural was lead to believe he was initiating lish bbate into kundalini practice. He had no idea
if it was her or not. Ultimately, it was Kathy Abbate who used Alish's name to get more time with
Han:y Gural. She considered herself to be a mistress of Harry ural. The family desired to used Harry
Gural in a home-based kundalini - Crossing business with Harry as the kundalini master and the
  bbate family as the hosts. Harry Gural was invited to the Abbate's home too many times to be an
extended member of the family. This type of kundalini practice is addictive and leads to illicit

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behaviors. No one ever said Alish was in serious recovery. hauna Maguire, Dina Karousos, and
Monique Burgess are all on Facebook with Alisb Abbate, and could have known this.

Kathleen Moore bbate and Richard . bbate grew up in Newington, CT and became Pamela
Chapman's immediate neighbors. They were so upset over some trees she planted because the built a
pool almost on her front yard, they sought to destroy her as best they could. When they had the
opportunity to arrive with ndrew Pru: on , M.D. on February 4, 2021 to shake Pamela Chapman
awake to own her on the energy realm, their own daughter was in recovery from abusive behavior.

No one knew these hard-cold realities of the Abbate family. They only sought to destroy Pamela
Chapman instead, and have a sexual three-way affair with Harry Gural, and ultimately with he and
Pamela Chapman. 5:41PM

The Abbate's sold their house in 2022 next to Pamela Chapman for $1,675,000, well above market
value. They moved out by October 1, 2023. They lived there at least 20 years. They simultaneously
have owned a house in Ogunquit, ME worth over $1,000,000. They drive luxury cars: he a BMW, she
a Mercedes. They own very few furnishings for their homes. Their daughter, Kayla, worked at the
same company as the father, Igus, Inc, in marketing for several years. Last year, she took a position as
a recruiter elsewhere. She is a graduate of Iona College, New Rochelle. She was initially a nanny after
college. The daughter, Alish, 27, did not graduate from college. The son, Sean, is a personal trainer.


March 12, 2023

Pamela Chapman woke up on this is Sunday morning with someone screaming about "making out".
Pamela Chapman had a momentary memory of someone from high school. They chanted his name,
hoping to find more memory. They demanded to know if she had sex with him. They chanted and
chanted to harass her for anything she could think about, her own memories and to destroy her
reputation and character. They were thrilled to have found a new name.

It was said those involved were ndrew Parsons, M.D. and lberto Villodo. It is pure sorcery. She
immediately claimed she could tell someone was working hard to read her mind. She can sense it.
Other times, she is a little less vulnerable, but can't get out of the bulls eye.

It is inhuman not to be able to think, to be harass for one's own thoughts. She has no privacy what
so ever. They said it was because she was getting close to filing her documents in a federal court case
that would target them as perpetrators, as Defendants. It was the only way they could protect
themselves-by destroying Pamela Chapman.




Let us never forget that in the Mass Bay Colony, RI Colonies, Plymouth Colonies and CT colonies
before statehood, anyone caught practicing sorcery/ witchcraft/ the occult was hung to death. In
Europe those caught were not only hung, but burned to their own death.
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                                         Appendix I

Financial Thievery lead by E arl A. "Rusty" Powell UL Bobbv McDermott, Richard              eal, Kamala
Harris

7-6
      1. I don't use ATM machines. They steal key strokes at the back of convenience stores.
              a. Use a bank ATM inside the bank if you must use one.
              b. Outside ATM's at banks are always watched from across the street
      2. Use cash as much as possible.
              a. It can't be traced back to your accounting system, but it can be stolen and misused
                 extensively
      3. Cash in a cupboard is not legal tender. It's not been traced for a few so no one knows where
         it comes from.

      4. Cash down payments are not used anymore because they cannot be traced to a record of
         spending habits.

      5. If you purchase a new car, computer, digital equipment, camera: If you buy a new consumer
         product today you have to register it in a consumer databank and they track your use and
         home number have so religiously, it cannot be important enough to ever register it anyway.

      6. Never loan money to a sibling or friend as it is never returning back to you. Not is the digital
         age of reciprocity of engagement. No one can trace it and everyone will want to know where
         it came from.

      7. Never loan money to a sibling or person online or shop via PayPal or venom. It cannot be
         traced to the person or the item.

             a. It is untraceable via PayPal, but not Venmo.
             b. PayPal, doesn't trace your credit history if you use a credit card. They will never trace
                your use but they will on Google.
             c. Google traces everything and they track and read your orders and your email.


      8. If you make a purchase of anything then you must religiously take acer of it because no one
         will ever want to make a purchase ever again especially a computer or a magazine
         subscription since it cannot be traced to anyone else anywhere. Remember always erase


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     cookies and magazine subscriptions on your digital computer because if they do not erase
     themselves.

9.    If you buy something on Amazon that needs to be returned then you won't be able to get a
     return slip anymore because they will force you to examine the merchandise on the camera
     on your computer. To use your camera it takes a key stroke, and if you use it, someone will
     tack you down and follow you around your house.

10. If you don't use credit cards much, you don't shop online. You won't be tricked or sorcery
    viewed because they don't trace your history and they don't get your credit card number.

11. If you shop on PayPal alone, they will try to use your account for phishing but they fixed
    that and they don't use that anymore.

12. If you shop for supplements and use a reoccurring subscription then they use that either as
    they will always dump more stuff on you than you previously ordered and don't use credit
    card _ _the information anymore as they will use that information for their personal use.

13. If you get on a scale, they give everyone in your circle your weight every day. Use an app
    instead. Then they give your weight and your height into the space. They use that to create a
    false identification.

14. Never give your family history or ancestry. Then they all know exactly who you are, what
    you are how you area and where you area. If you are a family, you get instant updates and
    suggestions.

15. If you get depressed, don't give any prescription orders over the phone because they record
    your voice and give it to another person to do the same.

          a.    If this is what you had to do then you are screwed collectively.

16. February 4, 2021 changed it all and no one wants to remember what life was like before
    because some people love to order from Amazon Prime

17. Shamanic TV will do the same to you as a traveler's check because no one will be able .to
    identify who you are unless they know you by your first name and your last name so don't
    use it unless you must.

18. If anyone screwed you like Harry Gural was screwed, you contact your state legislature and
    tell them you must subscribe to a new banking system because no one knows what to do,
    how to do it, or when it will improve.

19. Rusty P<l\nJI III :-;rares:" l"lll'rl· ;11T nu rni:-;takt·, in,, llTcr1 tck1 i:-;ion 11 l1l'n I put rn1 b-.:n
     ~Lill r lll : OLI,

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20. Grenville Craio gave Pamela's Numbers a way.

21. There are no more re-occurring credit card payments for newspaper subscriptions, only for
    digital subscriptions.




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